      Case 2:22-cv-07426-MEMF-JC Document 1 Filed 10/12/22 Page 1 of 38 Page ID #:1

~~s 1~.

                  GNRiS ~HESTfiR
                                                                                                                                    ZUZc ~C~ i 2 f' ~ i~ 0 i
          ~'      CEl.~si'E, TX 73423
                  ~lE5TER'~42t O1.f~C,~AFL.G`4~'t
                                                                                                                                           t,                  .. I i.l1~~I
                  C)ef~td t F'ro E'er
                                                                                                                            ':LcS
          4                                                            ~r~rr ~rarr,.5zatsr~~Cr~~a~o~rs~~~r~tc>~t~,.~~r ~~~~
              i
                                                                                    CENTRAL DISTRtC7 fJf ~At..IFC~tN)~


      (i
                                                                                                             G~ e tstaet~k~3.
                                                                                                             2: tie'~ V~. p~'~,4.~, -' ~,I~t~`'~~
          a                    PLA1~`1'l~f

                  V                                                                                                3.    V1f3LATlCJi~ ~(7f' E2 CSR l(~R~.E03
                                                                                                                   ~. urrtusr ~~v~~~~t~ r
      1 C}        JRwM
                     '{v~FtNAN~~C1yAwL
                         pq          t ~y LL~yC,~qC~a~3sfomaa 1~ira..~st,ie~~y Li~b
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                  ~f Y'ta'{'1V~ {.A.i('i end ~6j `~ 1JGJ~   ~`~ ~~i~a6U C~I~Gl likt~Y                                    GUNSTTI"UT1C?N 14thA~'i~AiL1MIFNT'
                  liL7N HC}L~Y 1 ~l.tl1~, bra hC► Oifieigl C~iac~t} 3S i,.{7S A1~tGELf
      1C
                  GUUNTY S~.JFERIARCtJG~FtTletUtiE<, I~SES 3 ~7t3, €nw9usive,

      l~                       T~F~l~L?ANTS                                                                  11.KRY TR3~tL i~~M~tN~ELt

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                                                                                                             lWJIlPtCT1U1~ REi,~LCi~5TE1~

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      L ~i

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      1~
                  Plaintiff, Christopher Chester, hereby brings this matter which arises Pram ate ut~~irr►ited
      19          ratter held in the cc~urtr~om afHt~n ~Ic~lly J Fuji; .TRI~1 Financial L~.0 v C3ae~ter, et ~1,
      ~Ci LAIC; case number 2(~STCVt)fi245.
      21
      22          Plaintiff tiled a 17t1.6 ~erempttary challenge that was denied lay Nt~n ~~ajie. This mater is

      7~          being El~d in re~~nye to that denial end irs ce~n~nlic~atian ~+ith ttte f~decal remor°a! of that
                  !"TYcltt~C.
      7~}.


      ~~
                  STATEMENT f7F F,~CTS ~,~'D FACTUAL ALI~,~G~~'to~Ts
      2fi
      ~~
                          t. U~ferad~nt i~ an ~tEt3 hc~i~in camp~ny for tJefenci~t~t :~nchr~r Leans, LP. ~r~chcar
      28                        Lcsa~ns LP, is an unlicensed lender ~r~ Beneficiary cif the Ueec~ saf Trust fir 3535


                              Veritaed C'am~rlaint
                                                                                                    Pale l
Case 2:22-cv-07426-MEMF-JC Document 1 Filed 10/12/22 Page 2 of 38 Page ID #:2




  1            1'vtultiview Lac Lc~s .Att~eles ~.t~ ~{~t~i~, ~ rc~ic~~~7ti:~(~,xrc~ rt}° that is tt~e s~jbj~ct of
 a             this ~eg~t action.

 3
         2. Plaintzffexecuted aguaranty for the laan in the amaunt of ~l,f~QQ,t~}0. At the time
 4
               that the $u~~an~y w~ss ex~cutec~ Anchar I~CiaY~s, i,P wa5 aru~ ccantinu~s tc~ be ire
 5
               vicrl~tion c~fstate ~nci fe~ier~l E~w. Tl~crefiare, the ~uar~~~tyrs une~~frsr~e~bfe ~~►c~
 ~i
               vc~ic~. Ar►chcar Lawns d~~s riot hold tl3e rep;u sits state at~d fec~e~~l ?~~atic~nw cue
 7
               1t~lul~trstate Licensing Systerr~ (~vf~RLS) lic~~ns~e that is necessary uthen making
 S
               loran can ~ residential ~rr►perty. t ? C"F~ 1 O~tl~. t t}3 i~tdicates as follows;
 9
1 C~
       1~8.1Q3 Indi~e~~~~tis re uir             te► be licea~t~ by states.
1!
!?     ~~~ EXC~~ r'~5 ~`1COY1CI~t~ 1X'1 I~~I°+c1~Cc"l' ~I`1 ~E'~ 4~~~ll~v 3C'C~1L}t7a in order to operate ~ S.~►.~.~.-
       compliant prc~~rarn, a stag must ~rc~hib'st ~n ind ~idea( fra~t~ en,~a~in~ in the business ref
13     a Cc~an originator with respect to any ciwellin~, ~►r residential real estate in the stale.
(~     unless the indtvidu~l first:

t5       Eij I~.e~,ist~r~ a~ a ltr~rt t~ri~~itta~ad~ tl~~r~i~~h ~ncf c~L~t~~ins a cit~ic~u~ idc~ntsti~r front Yh~
         NMLS~, and
ib
17       ~? j t~~btains and r~a~intz~ins ~ ~~a1i~ 3~~~ ~r~~ar ter ~~cense fi~o~m the mate.

18     (b) An individ~~al en x~~+ in the bi►sine~ss cif a ~nan ari~inatnr ifthe individual, in a~
       cornmerciat ccrr~te~ct end habitually or repe~tedlY=
19
~0
~~           (i) Takes ~ res~clenti~l r~Qtt age Icy        application; and
22
             {ii) 4#~`ers or ne~c~ti~tes t~rrrns of a residential mort~a~e loan for cc~mpensat ~n car
'a3          gain, car
~~,      (~) Repres~n~s to the public, through advertising cr ather means of cca~r~municaiing nr
25       provittin~ infc~rrn~tic►n (includzn~ ttie use cif business cards, ~~tionery, br huyes,
         sins, cats lists, or ether ~romritic►n~al items), that scrch in~iividu~l can ar wild ~rfc~rrn
2b       tt~e ~~tivit es de r bed in ra~~a~h (b°)~i }ref this section.

~7     (c)
2$


             Verified Ccyrn~~laint
                                                         Page 2
Case 2:22-cv-07426-MEMF-JC Document 1 Filed 10/12/22 Page 3 of 38 Page ID #:3




         (1) An individual "takes ~ re~iden~ial mort~~~~ loan application" rfth~ i~~divid~~al
         receives a resid~ntiai mortgage Dca~n a~sp~ica~i~n for the pur~c~~~ t~f ~'aci~it~tin a.
         decision whether to ext~~td an offer cif residential mc►rt~a~~ it~an terms tc~ a Uarrow~r
         or prospecti~~e borrower {car tc► accept the ~+~rrns c~fferec# by ~ bc~rrc~w~r ~r ~ros~;ct vc
         bcarroiver in response to a satscit~tie+n), whither the a}a}~iic~tion is recei~erl c~ic~ctty or
         indrr~~:tly from the bcarrawer rar prca~p~ect'ty~ t~c►rra~~r,
 5
      3. Ue~pit~ the unlicensed status o~.~,:n~hor L~aar~ ~,P, they continue to ~rperate as ~ multi
      billi€~n dc~lt~r entity; and opt car aboiyt .Tune 7, 20I ~, F''laintif~` atle~es icy h~v~ ~~Id the
      subject property apt ~ f°sar~ctusure ~a1e. At the time of tie sate, Plaintif~''t~~1S NOS' the
 7    benefi~~~ry of the TJ~ed cif Trust. Tf~e b~ne~ci~ry ~f the T3~ed ~f Tru~~t at the time ~f the
      sale was Anchor rls~sets V, LTA; another holding cc~rn}~ariy far• At~chnr ~,.c►ans, LT'.
      Assi~nrnents of the Died c~~'Trus~ have been sh~~ffl~s~ bet~~e~:n k.ECt hc~ttii~g eorr►~ni~s
 9    for Anchor I..c~ans, ~.P.

10
Il        3. ~nr:hor ~1~s~fi~ "V, LLC', T3TI~ d~QT ~ssi n the Te d cif Trust to JFthaf financial
j?            LLC' until the day A~"[' ~t floe s~t~ afthe ~r~~:rt~t, dune ~, 2Cll ~. The Assignment
[3             VAS T~T~~' FZ~+CC}FtI~~U until Jung l5, 201~. T1~er~fcr~e, the sale vas NQT dul}fi

l~            perfected at the time of the sale and was i~niawful. (See attached Ass ~;nrn~nt c►f
              Y}e~d~ t~f~'ru~st artd Trust~e'~ T~eeci U rn Sate j. r'~s a result nc~ valid claim exists
i5
              for I3efendant Jl~.l4t to seek a jucigrnec~t a~air~st Plaintiff. R~parrlless, ~`kM held a
l~
              ~•er}r questian~ble fe+recic~ure s~I~ ~~=herein the prc~pertyr r~v~rteti to Pl~'rntiEf for
17
              ~2(1t3,t~UC} d~~pite the fact tint the alle~~d amc~~~nt of debt at the cir~xe of the sale
18
              v~~as $2,I77,b48. l8 end the prin~ip~i ~alanc~ of t~~ c~ri~inai tarn was ~ l,~t~(},Q~IU
1'~           (See ~trach~d T"t)L~S).
~(~
?!        4. fln car about'c~Tav~mb~c 2'1, 2 19, llefer~cl~nt JRM thin unl~wfuEly ~lcl the
22            property to ~n alle~ec~ gird party buyer ~'or $1,76 ,3(}(} ju~-t under the fit, t~,i~C1C1
~~            princi~aal balance. The value afthe property ~t thartirne was vv~ll over the

~4            ~I,SC~(i,(}t)O lc~n amc►u~t; but the property re~~r~ed tc~ .TFtIvC fc~r ~2(~t~,t}~Cl, des~site
              the that fact that the market value was within. a range of ~2,f}~(},{3C3{lW~~,Ot)(~,tX1(} at
25
              the time.
2&
27
          S. Merely 3 mc~ntfYs after they unlawfully rec+au~eci the majority t~fthe alleged debx
2~
              at the time cif sa3e; in bad faiti~, they prz~ce~c~ed tca ~it~li~~ the le ~l sys~er~~ to

            ~~rifsec~ Ccrm~pt~int
                                                      Page 3
Case 2:22-cv-07426-MEMF-JC Document 1 Filed 10/12/22 Page 4 of 38 Page ID #:4




  t.       unju~t~ly ~nri~h them~lv~s. °Def~~~r~~nt.~M ~l~c~ the sabject ~ctian on ~~bru~ry
 ~t        I~,202C} against Plaintiff as ~;uarantc~r, s~~kin ~ l,4?7,~48.2~ judgments in the

 3         Campl~int,.


       5. The Cc~r~~plaint ne~li~;ently failed to disctt~se~ the fect tit $i,1b~,3€?t} had already
           b~~n securet~ From the 2 pr~viaus un~av►-fu1 ~a1es, art ~mcaunt less fan ~It},Cif~
 b
           Pram the jud~mcnt that that they were s~~kin~ in the sub~je~t motion.


       7. At this time they hive al~~ady secured an unlawful and vUid tiefautt juci~rrtent in
 9
           state court: against ~7efendant ~+rlackie Git~son in the amount crf X2,973,'173.1~; an
1 Cf
           amount well aver she vri~in~l ~ t,977,Er4~ that w~~ re~uestecf in the compIain~ and
11         T?v~ AU~i~C'IC7I~3 zc~ the ~ l,96~,~OC} t~a~ they have ~Irexcly secured frt~m the 2 sales
1'~        cif the property prior ra the f ling of tk~e state ~ctit~n.
13
t~     ~. The Trustee's Deed Upcaa Sate sale, ~;ssi nrr►ents cif the D~~d oaf Trust end
1S         ~u~ranty cantc~cts are attached as exhibits to the c~ri~irial state co~~r~ Gamplaint.

ib         California R,ui~s of Court 3.i tt~(bj required ,TFZM tc~ s~rv~ ~~rt:~es within fit} days
           cif filing, the compi~int~.
l~
18
       9. .iT~.M failed to serve Plaintiff and Mackie Gik~~c~n wit}~in 6~} days, A mi»ute order
19
           dated June ?'~, '?t~3{3 indicated J~R~ui was requiyeci t4 ~1~ a declaration cr#' why the
~0
           case should not be dismissed by ~Au~ust 2?, 2C}20. Tk~e Court fi~rther c~rdeeed that
2t
           the case would be dismissed if the declaration was rtc~t timely filed (See attached
22
           Eninut~ carder.
23
~4     14. mother rnini~te order ~~tet~ .August 3 t, ~02t} indicates ~h~t the mand Ivry
2S         declaration was filed are Ai~~irst 28, 2Q2t}. The d~claratian ~r~s untimely and
26         re~uirec~ a dismissal cif the ease. The ~~urt f~ited tc~ fc~lbw ins c~wn order to
~7         dismiss vs€ith ran e~.plartz~tio~t nr acknawlt~c3 rnent c~ti the c~i~timeiy ~lin~; (See

28         attached minute c~rd~rj.



         Verified ~amptaint
                                                  Page 4
Case 2:22-cv-07426-MEMF-JC Document 1 Filed 10/12/22 Page 5 of 38 Page ID #:5




 t        t 1. The Court further ordered that a dectardtion of why the case should not be
              dismissed was to be fiEed by November 5, 2(}20.7RM again failed to file a timely

 3            c~clar~tion. Instead,the derlaratic~n was ~i~d on Nc~v~int~er b, 2420. The Court
              again faile+~ t~ follow ~t~ awn order tc~ dismiss the case with no expfarta~t~ion or
 4
              acknowledgment cif the untimely filing.
 5

 6
          l 2. As a result afthe Court's negligent decision to ignore JRM's untimely filing;
 7
              JRM was eventaal}y able to successfully se~~ve the state court I?efendant~. J°T2.I~1
              filed requests for entry ofdefault and requests for default judgment against state
 9
              court Defendant Gibson. Hnwev~r~ TRM failed to serve tfie requests far Default
1(}           and Default Judgment Gibson had difficulty securing caun~ei to defend himself
tl            against this matter but ~v~s able to appQs~ JRM's Request for Entry of DeEautt
1?            Judgment. TRM's h+~aring was held an Tune 9, 2021. Gibson challenged JRM's
13            request for several reasons including the fact that JRA~I was in bad faith attempting

t~            to unjustly enrich themselves at the expense of the state ccxxrt Defenciant~, Tf~e

15            Cou~t'~ minute order rt~gligetttly ref~r~nc~cf ~al~fUmi~ $ank &.Trust v De~Panti,
              232 CalApp 4th 162(~014~. The Court opined that the DelPc>nti decision did not
16
              apply in this matter which is quite the cornrary. The Court referenced the
1?
              following issue raised in the I)elPant~i derision:"3) We therefore hold that a
18
              ~u~►~~~tor's waiver of c~fens~s is tim~ted to to al rind statutc~r}f c~eFenses expressly
19
              set c►irt in tl» ~greem~nt." (232 CoalA~~p 4th tfi2 (?Q t4),'.
hp

?1        ( 3. HC)WF1~R, THE CC)t1'RT CC3MPI,F.TEI~Y IG3vC)ltF..D "THF C'.,t:)t3RT'5 TRL7F, TNT~:NT
2?            A13L7 ~PtNt4;~s wHICN w.~5 ~LAKi~'I'~ri BEGiNNt~G WITH "i'H"~~; ~ r~.lz~ ~~:s~r
              SENTENCE:
23
2~
      A waiver of statutory defenses is not deemed to ti~xaiv~ all defenses, esp~:cial(y equitably
25
      defenses, such as unclean hands, where to enforce the guaranty would allgw a lender tee
2~
      profit tsy its c~wn fraudulent ct~nduct. Thy dcartrir~e c►€unclean hinds bars a plaintiff from
7~
      relief when the plaintiff has engaged in misconduct relating directly to the transaction
2$    concerning which suit is brought. (Camp v. ,Ie~er ,1ta~z_~els, $uil~r & tLfarmares {~ 99$)


            Verified. Cc~mpl~nt
                                                   Page 5
Case 2:22-cv-07426-MEMF-JC Document 1 Filed 10/12/22 Page 6 of 38 Page ID #:6




     35 CaI.Ap~.~th f2t~,6~S-b3~j~l_Cat.kptr.2d 3~'9~.) Although nriginalty ~n eyuitabie
     defense, it may apply to legal claims, as well. ~Ja~obs v. Universal 17e►~elatament
     Co" r~. ~l997)
               .,,  S3 Cal,A.~~,4th 69269          62 Cal~tr.2c~ ?4 ~b„~.~

     (4) Faced with this question for the first tir~ie~ ti~~e ~ppl~ a rule caf strict cr.~n~tructiort to
     contcacturat predefault waivers b~F the G~►arantors. V~hile bread              in scope, such
     waivers are limited tc~ thr~se Ic~~al or statutory ci~efens~s ~articui~riy set fr~rth in the
 G   ~uarant~ a~reem~ent and dc~ noc canstiti~te a waiver of all equitable def~n~es. ~n fact, the
     waiver provision cat the guaranty agreement s~~i~c~lly states, "except as prc►hibited by
     applicable law, Guarantor waives ...." This Iangu~~,e conternpl~tes the retention cif
     defenses, the preciefault waiver r~f~°hich would b~ cc►ntrary to public policy.
 9   (5} Ir, ~ (I suretyship and guaranty relations. the crecfitc~r awes the surety ~i dirty cif
10   con~inuc~us ~or~d faith anc~ fair d~alia7g. (Sr~»ritnrno Bank ~,~al~ arrr~c~..i~. Iwasak~,196$~
     7U Ca1.2d ~i 1. 85 ?3 (:,a1.Rptr. 5C~4, ~7 P.2d 9~~ij.~ This duty ~Fas n~z waived by the
It   Guarantors in the a~r~eement. Tl~e trial court found that public pniicy~ prccEud~d an
     interpr~tataoa of the ~uar~nty a~ree~nent that res~ilt~d in a ~~°giver c~fa11 c4efenses. i~'e
12
     agree.
13
     (6) Public policy requires fps t~ read Civil Code section 2856 in a manner that prevents
14   one party from capitaiizin~ upon its own fraud az,~villful miscs~nduct. (See Cis. Ccxle,
     Ifid7, (b6~. j As tl~e trial court pc.~ir~t~d gut; it we~uld be in vic~latic~~z c►f public ~crlicy tU
15
     enforce the Gu~rantc~rs' waivers of defenses tc~ payment of the note where the: T3ank
16   willfully Ureached of the Ic>an a~reem~nt, causi~tg the defautt. There u~~as na error.

1?   k~. Furthermore, the 2 previous sections of the appellate decision frown upcyn the unjust
     enrichment of a lender.
1$
19   However, a guarantor cannot be held Iiable ~~t~ere a contract is unlawful ar contravenes
     public policy. (Civ. Gode, § t667; i3'RI U~~nr!z,rrir~• L.aans IL LLC v. C'cm~er (2047} l5~
~p
     C~I.A~~.4th S?~~54~ [6a ~ai.It~str.~d ?OS .) 7'h~ rule against ~nfc~rcement oP illegal
~~   transaciic>ns is tc~undeci can consic~eratic~ns of public policy that are: inr3epend~nt nfCivil
     Ccatie sections 28th end 2~lU. (~~KI C~~artr.~nity L~~rzns II. LLC ir. Crx~l~Err, .a-r~~rara. at p.
22   545. j Fallowing this masoning, it has been held that a predefault waiver of notice by a
     ~uarantar is unenforceable as void. (Cprritns ~Frrll~,,B~nk v. Stirlin 2DtX3 81,
?3   CaI.A~~a~th t lt~~3, t i t4-1 (t5 j97 C".~l.Rtatr.2d_~3~~j.)
~~
     (2) ~~'e deal here with the predefautt waiver of'the ~3ank's nwn misconduct, which is nc>t
25   expressly waived in t►~e guaranty agreem~nt.1'Ve hive fnuF~c3 no cases ran point acidressin~
     the avaitabilit}~ of eq~~itable defenses t9 Guarantors whose cantr~ctual guaranty has
26   w~iv~d specific l~~al defenses. We read Civil Cc~e section ~~Sfi to permit a ~uar•a~~rtcar tra
?~   waive certain legal az~d statutory ~3efenses, as xpecified in the ccxie, which ~~buld
     otherwise be a~•ailat~ie. Thane statutory defenses have been sec forth above. but we da not
2$   read Civil Code section ?85& to ~:rrnit a lender to enforce predefault waivers beyond


            V~rifed Complaint
                                                     Page 6
Case 2:22-cv-07426-MEMF-JC Document 1 Filed 10/12/22 Page 7 of 38 Page ID #:7




      thc~s~: ~~citi~c~, v,~h~re t~r~ c~c~ ~c~ mould result ire the ~~~ttt~cr"s unjr~st c~nri~hmeni~, end ~31a~
      the ~~~cf~r t~ ~~rc►~it frcarn ids sa~~n 1r~ue~ulerit co»d~~~~~t~.

 3    t 5, The DeIF'anti Cc>ut-~ cuter! in the f~vr~r o~`th~ gu~r~intrars t~cause the tenders wa~.,ld
      h~v~ beeY~ unjustly enriched hid t~a~y received a f~vara~le j~ad~rn~nt. The lower caurt in
      the ~el~'onti matter was ccs nizant of t}xis fact and ~vled prc►perly i~a favr~r cif the
 5
       u ant~rs. This hurt ne~l~cted t~ hvnc~r the opinion ~~f the I)e~Pcmri C~►urt iay ruling in
      the favor rf         ~vhc~rn she teraew wr~uld be unjE~siiy ~nrich~d by ~ ji~d~ment ire their
 7
      ~~vor. A default judgment is nc~t int~r~d~d to b~ an at~tor~~atic cle~isiran in f~vc►r of
      Plaintiffs. (fee att~ehed TJ►~fau~t Tud~ment and minute r~rd+er d~t~d Ji~ne 9r 2(}2 t ).father
 9    than allowing Ciib~n tc~ have a trial based cx~ t1~e merits the Court r3eniec~ him this
10    appattunity irtanically ~caus~ h~ f~ited to tizt~ely re~pc~nd tc~ JR~Vt~s Complaint. Hc~w~ver,
It    the fa~ett that the Court rienied Gibson the cap~ar~ut~ity tc~ enter the sub~~ct m~tt~r b~r~use
!2    f allegedly failed tca timely res}~►nc~ to ~t1V['s coi~t~la nt; it became ittcumbenx upon t11e
13    Cox.Rrt tc► make a fair, imp~rti~l and unbi~s~d de~isi~ari at tt~e pr~rv~ up he~rin~. Thy state

t~    ca~zrt failed tca carry out that abli~tic~n.

15
      tt5. The court i nured ~h~ abt~icnas sale irr~~t:l~riti~s and licer~sin~ vi~taticrn~; brut mare
16
      ~mpr►rtantl~, i~nor~ti the ~'~ct that 1R.1~1 ~~ould be unjustly enriched to the detriment c~fthe
t7
      state court Def~ncianfis {See attached Default 7ud~me~rt and minute order dat~c~ ~c~ne 9,
18
      ?Q`' [ ).
19
'
?~    Califr~rnia Fin~nc~ Cade S~cctiUn 22750 states as fsal~ows:
?(    (a~ tf arty ~xnc~~int ether thin, ar in excess ~f, the char~;~s ~emitt~d by this divisic►n is
      willfully ch~r~ed, cc~ntrr~ctec3 for, ar r~ceivedx the contract cif lean is vc~'sd, and t~ca person
2'?    ~~ any nigh# tc~ collect sar ceceiv~ any ~rincipei, ch~r~es, or recompense in connection
23    with the transaction.

~~    [?. The ~urt~ 9, ?U2l minute order also ordered JRM tc~ ~il~ a proposed Default
2S    Jud~nent within t4 days. JRM failed to file the prc~~sed jud,~ment within l~l c~ay~s. T1~
2b    Cc~G~rt executed the ~~f~ult Judgcg~tent ~esp'rt~ the fact that it was untirt~~ly tiled (See
~~    attached mtnut~ order dared IrBovember 5, ?022}. [n adr3ition to providing 7K.Ivi with an

2$    csp~rtunity to unjustly ~nr~ch thems~lv~s, the Curt ~lsra execut~c~ anc~ ap~rcaved an t~rder



              Verified C:ampl~int
                                                       F'~ge 7
Case 2:22-cv-07426-MEMF-JC Document 1 Filed 10/12/22 Page 8 of 38 Page ID #:8




  t     prc~vidin~; 3'R31h with ~n astounding l7°1~ preJudgmertt usurious interest eats tc~ be a~~plieci.
        The~juc~~rnent is invatid end void for ~nutii~te reasons.

  3
        ', !$. On or abort February t~, 2022 state court 1~f~nr~ nts re aveci ti°~e case to federal
        c~aiart dui to state court I)efendan~s vi~+lat cans caffederal lam. Thy matter was c~rderec to
  5
        be remanded, however, pursuant to federal law,the matter has ne~~~r been rerr~n~ec~ tc~
        date b~° the fecier;~) c+our~. Uespit~e the fact that federal law requires the federal cc~~~rt tc~
        rem~nc~ tea state court; J~M's cc~~insel filed. a Notice €~f"ken3and ~~~ ar at~r~cat R~[~y t 9,
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        2{}2?.
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 10 28 t~'~+~ (4~? stags in p~rCA "...~ ~~r°tit~~d ~~~~~~ of tyre ~r~i~~r cat rerri~nc! ~~a~l'1 b~ rr~~iled
 1i     by the ~t~ oral] ~l~rk t~ tl~e clergy: cat tk~t ~t<at~ ~cazar~t. Tate St4~t~ ~~~irt may th~rerr~x~n
 l~     prcac~~d ~°ith such case." In vialatic~n of2~ ~E.~SC 1 47, On ~'un~ '7, 2U"l?a ~.I11S C€IUCZ.

 I3     ordered a trial date scheduled far September 2~,?422.; d~s~ite the fact tF~a~t the trt~tter

 1~     had N`C3T faun r~rn~nded b~~ the clerk of the fec~er;~! ~c~c~rt to the clerk cif the sure cca~irt.

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        19, Plaintiff Ghris Chester ~l~d a t'~t}.6 p~remptcary challenge on September 27, 2022 at
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        approximately 83tYam prior t~ the scheduled trial. 'I'h~ Court hid cle~ri_y end ~tatantl~x
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        engaged in m~rltiples acts a~'prejudice throu~f~aut tli~ pr~eedin s r~tate~i to this rn~tter;
 1$
        therefore Cl~e~ter chid e~c~t beli~~e tt~~t die wr~caCd t}e affo~°dcci a fair trial. Irc~ni~ally, ~ft~r
 E9     hav~~r~; ignored multiply instances ~+herei~ JRM lt~c~ unti~tet}~ ~lin~;s; t~ ~'a~rrt denied
?(~
'       the ~eremptary chal~ettge as untimely.
~~
        20. Ptait~tif€'Chester then timely tiled, noticed anc3 sere=ed an ex pane rn~►tic~n to crantinue

23      trial on October 7, ?~22. ~e had su#~'ered the lr~s~ cif 3 immediate family members s'snce

~4      April 2C12'? anti was nc~t ~are~ared to go tra trial. "C"he ~c~c~rt cienieci him the c~p~ortunity for
        oral ar~un~ent and ruled in Gharnl~ers. Thy Court d~nxed the mcztiUn ~s u~ltirnely despite
25
        the fact that it wits in fact ~ler~ ancj served timely.
2b
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                 ~~rt`~ed ~nrnptaint
                                                         Page 8
Case 2:22-cv-07426-MEMF-JC Document 1 Filed 10/12/22 Page 9 of 38 Page ID #:9




 1    21. Lastly, arrachec! ~re 3 ~maila sent to PlaintiffChester from ms's caun~~l. Thh~ emails
 2    are dai~d 'stay 4,20?[, Octaber 7,2021 and +actc►1~r 7.2 }22, r~s~~ectiveiy. As inc3ic~tted

 3    in the emails, JT~M is an ~Z~Q holding cam~ra~~~~ fi r ~.nchr,r L~~n~.

 4    22. J~tM's counsel indicates that Artchar Loans has oripinat~d ays~r 9$ in bans. ~e
      ov~rst+epped his bc~undari~s anti rn~de mu~ti~Ie attempts to pre~~urc Plaintiff into a
      settlement and into ~ivi~~ u~ tits legal rights to cj~fer~d ~~~inst t}ie ~t~te cr►urt matter. He
 b
      further relished in the fact that he artd his clients h~v~ re~u}ar~y ~n~ag~ed in this back faith
      and unla~rful activity unct~eckee~ by are ~anjt~st and ~~nfair le a! system (See ern~ils
      attached). If JR~vt°s cairn l i~ ~~pable of acckt~c►wl~d~in~ the face that they have routinely
 9    been unjustly enric~~ a~t the ~xperu~e c~~t~ear bcirrow~r~ ~.s disc}r~ed i~3 the ~ubj~ct
1i~   ea~nails, then the state (;caurt shrauld be capable cif recd ~i~irt~ this fact re~ardle~s ~f what
it    1RM ~nc~ J'kI~at's cc~uns~l h~v~ fro iy anci n~~li ~rnly ntisr~}~re~~nted try the ~csur~.
12
13    23. ~'or the fnre~oin~ masons The state ~aurt is c:l~~rly incapable of ~~Z~kin~ ~ fair end

t~    im~artiad decision in ttte state cairn trial. Tt is ur~~nt that a stay be granted in order tc~
      prevent the trial from gc~in~ ~'orwarcl can Acto r t3, 2t32?. Plaintiff r~~i~l nit be afforded
l~
      fair and im rtiat non jurx trial ifthe denial ~f~h~ t7{~.fs      rern~t~ry challenge is nc~t
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      ove~urn~ed.
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      F7RST' OUSE C}~' ACTI+(?N- t'10LATQN OF 12 C'F'I 1048.103
14    .tTtIv[ and Anchor Loans LP are in uialat'rcan of 12 C~Tt 100$.I(l3
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~~    2~. PlaintiffC:hest~e r~-~lle~~s and n~arpc~rates by reference each alte~~tion cc►nt~ain~ci in
2~    p~r~~raphs t-23 herei~t, inctu~ive.
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~4    ~5. Defendant Ane:har Lows LP m~cle a Ic~an to ~n entity e~wned by Piairttiff a~e~ required
      Fl~intiffr~ make ~ ~~ara~ty against. the lean. Def~rdanr~, are in vial~tic~n off' (~ CFR
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      lL~t}8. tC?3 because they are pursi~in~ a judgrn~ent against F'laintiffan the grc~uneis that an
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      unenforceable ~u~ranty dives therm a right to secure that juci~ment.
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Case 2:22-cv-07426-MEMF-JC Document 1 Filed 10/12/22 Page 10 of 38 Page ID #:10




  l      ~~C"U~D ~'~USE C}~" ~C"TIt"~~d -LFNT[~T E~ITICT~                    Nfi
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  3      26. I't~intif~'re-wile es ~nci incarcerates by reference each ~lle~~rir~n ~c~ntain~d in
         ~rar~~ra~hs i-2a here'sna ir~clusiue.

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         27. Defendants are in vic~lati~n ofst~~te ~nr~ fec~er~l law and are ~ttemptin~; to ~nfi~rce a
         judgment ~~;ainsi Plaintiff seckin~ w Goliect ~unc~s against a Ileeci afTrust ~nc3 ~;uax~nty
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         despite the fact that t}~ey have alre~c~~ s~ecur~c~ thc~e f~inc3s in }~reviauu~ sales.


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 l2      paragraphs 1-2'1 h~r~itt, inclusive.

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 Irk     2'7. defendants ire in vic~latian afst~te and federml taw end ire atternptin~ to enfarce a
         judgment against Plaintiff seeking tm collect fu~tc#s against a deed caf"1"rust and ~u~ranty
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         '~ d~spit~ the fact that they have already secured thra~e finds in pre~ic~us s~l~s.
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         i 26. ~y nc>t ec>rrisidering~ her ~bvic~us bias and inability tc~ affard I~~fenciant Hc►n Holly
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         ', ~'c~j e has denied a fair and unbiased tria3 try Pl~cint~ff its LASC' matter, cam r~urr~ber
 14 ', 2t}STC~'t~24S. She has re{~eat+ed[y c~~nied n~vtic~ns a~air t Def~nc~ant~ in the subject
 ?(j ', mm~~t~r and denied Plaintif'f's 1?(}.& perem~cary chall~n~~. T}~e mialtipte
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                Verified Complaint
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            prc~p~rty sold ~t fcarec(c~s~rre sale t~ Plaintiff's detriment; and other damages as the caurt

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            For a~ orr~er gran~~~►,~ ~"l~iniif~ attrarney fees; and
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            far scrch ath~r relief as is just and equitable.
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 ~~         attached to this veri~~d petition.

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Case 2:22-cv-07426-MEMF-JC Document 1 Filed 10/12/22 Page 13 of 38 Page ID #:13



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Case 2:22-cv-07426-MEMF-JC Document 1 Filed 10/12/22 Page 14 of 38 Page ID #:14




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     fh~.~~nvur~t f'~i+~' Ciy 7'f~C (.;r;3ntec 4td~s .~a~'tiU,Kl~34~.i1~                                                              ~a{amin~ ~l$tktctjtPtLntPGt'i~vai3dit~,
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    Ssi1 P~o~serty 1.!rt T'►~ City tzf lAS ~11lG EY.F,S, G~s~sity n4'i.,~s f2ngei~a                                                      ~~ =c~! pr~rty dc~a        ne~ein.

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    TaESCRI~3EI) ,k~ ECII>LU'~4'S:

    I31~:G1fVhi~l'~itG A'~"C#-~~. 1'v'~:ti'1 ~~~~I1~ 'I l~;1f:41dt~tl;a CJlr .l'~A'I' C:k.1t !'r~ ltr t, t~~i2S1; t~F ,~.k T~A1~~3
    ll.~SCR1~iL~ I~+i ~'ARC~:I. Nf~.i fiN A~l:l~ 'C`U ~1i'~'~l3CI,T, i;. KO~'r'~LA~ht, ~;`~' Ar.., ~iT~;C'C?Itn~:i} i~'~
    Iit,~C3K «2". )3 I'AC;1: I73~ CT~'N t(:tt~L ItI:CtJi~ti)5. I~k~:Cl`I`I';~l ~N `~a`~TIT DL;F:C) r1~ ~I~.::~~{tl'~1G 1~C)I~"t'13 87
    ~EG~~E 24' S[1" ~AS`T' ~7.T3 F'~~~3; "!"2~F~~~`I~ I'v't)It il ~ T~~(":[t~;~' 3:~° It}" ~~v`I'~"1' t:~ 5~~,'I': "~'HC:NCI'
    ;'~t}R`!'H i ll~U~i~;~; k5' ~~3" tV~,S't' 9 ,22 SET; 'i'I3~;NC~: NOR'i'N ~iS D~:C;ltk;L 25` ttS" Wk;~7` ~.2~
     ~'CT Tt) A ~"CIIN'C I~ A C~t~'1'i: C,t~NC~~'~:'1'#J'1`i~; SOiJ'I'I=I~:AS`t' I~~~'IIVt; A R.ADIL;~ (ik 77.7':
    i^'EF'i' At'~1? A E ENTItAi, Al~G1.~T~ U~ 3~ ~lk:C:~ti;~ fib" i3" ~1 R~UTAL Ltt'+I'~; A'l''~~~i7 t't~)Il~i'I' i3EINC~
    1̀CfY~`1'~1~ ~Sll~;GR~;~: 22' 24° W~'t'; "'ft3~`?l'C'E S(li.tT~(LRI~Y ,ilai?Nt3~ SA[ll (:'Uf2~1'Ei. 97.~If~ F~:E1'':
     Tai~.:~ f'I~' 7'ANC7~NT "I'C'S S~T~3 CURVF: SU~.17"N ~ TiE~h'I+: ~ 1' 4"" V1rF~.'S7" ~it3.97 I~~:I:~'~ M(~R~; t3.I~
     LG`±5. "t`t} A P(?tf~i'I' tf~ A L,1;4~~ i}ISTAI~7' l~i#~R'TI~~~`TtI..Sf' i5 .fiF.~,'~ 1~1~;A~+tt~~"I1 R,AI3IALLY ~R(3tvf
     T1E tis()l.TT'13~RI..X LI1~'E f7~F SAII3 Y~IRC~L tVO. 3; T"!ll:'v'C.'I+; SC_?~ITH 3 ~T;t~Kf'I~; 25' i2" F,A~T IS
     ~~w~:'1,7.+E~'1"HF; sYJt17"F-fi~i2I;1' LINE C1T' SAT;p C'r~1t~'~:i. N~}, 1: '!"H.C+.,'?Vt'~: C..~~"~"EI21.9' AI.{l1~tG~ T'~1f'.
     4C1U't'Hi~ItL2` L~AtE C?F SA1D ~'AItCTL RC). 1 '('(3 "I'~3F; ['UI;ti'I' t)~~ Ii~GI?Y1~1~VG.


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                        `s.R.S. i~ ~ drbt r~cs!(~i~tc~t ~tN~rc:~ytzn~, tU c~~t{~'t .r s3~;st ar~d aF1r o~siarrraiiosa ~i6[ t~~ u~c•~~ "car G;~~aa
Case 2:22-cv-07426-MEMF-JC Document 1 Filed 10/12/22 Page 16 of 38 Page ID #:16




     `l`5 ~. zttl7-235:
     t'~rs#~r #~ ts"717~t:~3

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    En the ui~ee ~~the Ft~;icrskrui'Lus .~~~~~~s.ialiforni~ ~a,3c~~ e apt$ a-it~~ asp! pc~+s~r: <<rst~d is~ t ae "fr~;t~~: c ~i aa~~ri a~i tfi;~
    L?eed o;`l~r~~# ar ~+~ ltte tIu}y ~~Sp ~int~d °~ rusiee> rlefauii 1~aa-ice c~~;cxszrt;c3 un~~r cF~c I~~ed cif1 ru~~a pur~a,:snt to 1ls~ T~Iptice c~D'
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    !'a ~ ~;?i pf C3t~~c~al rerorcSs. 7rusttx }x» t~g+:vmpfi~d tivitr a~i dpi{~ce'tsir wtu~vey regs~is~ment~ n2the ,"",sait u#'C~lsfvn~ie z€~ra
     p~~t~rm uli e~v~i~~ r~~i~irec~ by ttsr. I3~;~.~ of l"rust inc.3udin~; ~:x~x,,n~; ;+ ~h~~~icc tsF t)r.Pault ~rn3 t~.lirti~~n to 4~I1 ~a~ii~~ tera c~yus
     afict ic4 rectxrriang tsni~ a Douce ~a Salt art ~c~~,~ s~~c.ity da}:~ ~rirr, ~«~ ih~ `>~~e Dote bg~ scriil~eti ~~i~il. ~r,~ta~;c prc;-~;~iti su cxry
     ps;~r~e°~~z cst~e ~i~ s~c~tic~ i~~ cosa~~lisncu ~i:h C'~iif~s sa ~'iv~i ~~s~3c ~~a`?vb.

     Aii requisem~ra.s r ~:a2i#~*:r+sa :~t=x?zsres r~;;ar~';~s~~ tins.;• niailzu~, ~;=rsunat cic;~tvcs~z ~nJ nuhL•,aYivx~ of~~,p~e». of Natict of T.~~ta~,1
     ~t~ e lection tt~ 5c.;. i:~c~eT ~J~e:i ~~t f.ust ;,sit! N:~t~~~:, a,i Ssa;~i~bc's ~alr. Eeac~ af~c pe~tir~ ut'eopi~s o€"i~2otiGe s~€"3"rus.~e'~ ~~ie 2t vc:
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     `S'r~tct wld saa~; reai ~ apettti ~~t pupl c au;tior, crn ~ 7f'~1)7~. tsxa:~t~~e, bc~u~~r the 1u~t~~i bidrSer at suic9 sale b~a~;~ t#a~ fur+,baser
     a~ ~y~ prr a ty fcar tau: arnttur~t did, tn:i»}; ~xUv.UUi~.bt~. isi !~°.=~Fu1 ~rz~nry ~~ fig 4in;tz ~f 5tat~°~, is~ ~?rn ~, t~ b pt tinrc~;~
     h~~ze~ y :~ks~t~s~~~t3~e~ iza iiait'parti~l ratillaciioc. <<I ~lYr ucb+ dccus~u bb saki Ut~r3 s~f rust.

      Jrr ~c~i~~es~. tlrerccDi, 5.~.~. I'[tl.~s'D S7~l:I t> ~~;'3tiff C~~t~a.. ~ ~:,~~i.i~' ~t~ti    [=~ ~'[)i~.~,2'iC3~;, ~a~; 'rus~.~, k~a:~ t3~~~ dray, cxa~,z~=,=,
      i~~ n unc to E,u t~erWuaas~.> aflixr E~y° itK ~af~:<:~r t;,ex~:ss~tu ~f~si~ auth~r:tir,~ ~y ics ~rr~,ur~ti~n hy-J:s~vs.

     I)~tt~~; t~:''TtZ~J3~                                         `~. .S. l'i~.i.~;~f" ~1~t;k;p'v~:7'W~         ,A £,'r ~if~f3R?~~~'t C'f?62Pt)T{.~~,T}S:)C


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        r~e~ah~thcy ~:xe; csted ih~ ~a~ae in 1u~li;~ritF~zr a;rthc>r~r:,.:i ca}~acit}•te:~7. ar i7~t by lsis~'hcrtthcir ~i~natt~rt(cj t~~ ~hc .~trar rsl
        ilia peasuri=~)> as Rl~e ~s~tity ~a~s~ be~atfai ~v~ich Ehe ~~ssa~s; acted, exwcute~ tl7e i:~.5trumcn8.
         t cc:rt~ff~: u~~e; :"~?~,~I.T4' fJf~ Y~:,~..iUft'~ ubrc3~r thy: f~~t~ ui"i~se St~tc t~t'C~tifc€nif; that qhc~ 1~arc~uan~ ~^~u~tgrdph i~ true, a;b,~
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         ~'~'i'NESS racy ~~aa~ci end cii~irial seal.
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Case 2:22-cv-07426-MEMF-JC Document 1 Filed 10/12/22 Page 17 of 38 Page ID #:17



          .~iG PF.RIOR CUURT C?F C~t.iFORIS I~►, CUUNTY C3F LUS ANGELES
                                                     Civil Drvisioa
                              Central District, Stanley Mask. Coarthausc, De~artnlent 56

      20STC~'06?~S                                                                                .4une ?4, 2020
      JI2.,~i FI~~NCtAI.,, I.i..G, A CAG1~O12NIA l,iMiTF.,D                                            9:?fi AM
      t..,tABtL~TY C(3hiP~NY vs C.;HR1S CHFS"TER, et al.


      Judge: Honorable Holly J. Fujie                        C.'Sit: None
      Judici~l:lssist~nt: O. C'haver.                        ~,RM: Nonc
      Gournoum 4~sistant: i~c~ne                             C~~puty Sherit'f: None

      APPEARANGE~,S:
      For Piaintit~~s): Na Appearancs
      Fur Uefenciant(s): No Appearances




      NATURE OF PEiC}C:EEDItiG5: Non-Appearance Case Revic~~

      Declaration regarc~in~ status Qfcase ~~~as filed can June 23, 2t}?0.

                      awn rntytiUn, the .Non-Appearance C'a~e R~:viLw [~isi~~is~;al crt~ Ur~sen3ec~ [?ef~ndant
      C.}II C~1~ COill"t.'s
      scheduled fi r Of/25J2t}20 is advanced to this date and continued to U~~Otr'2U20 at 03:()0 PM in
      Deparm~~nt 56 at Stanley Mock Courthouse;.

      lf, proof cif sen~ice is not filed, a D~cl~ration of ~vhy the ~:ase ~hntild .not be dis~~~issed is tq be
      filed 'by A~~~;ust 27, 2~}?U, ca~5e will be di~mistied if a declaratiof~ is not filed.

      Certificate cif Mailing is xttache~i.




                                                    Minute Clyder                                     Pa~;~ 1 c~f~ 1
Case 2:22-cv-07426-MEMF-JC Document 1 Filed 10/12/22 Page 18 of 38 Page ID #:18



         SUPFRICIR COURT OF C~.~.IFOR1ti~IA, t'(.~i~NTY t~F JLt)~ ANGELES
                                                       C;i~~il Divisio~a
                            Ce~1tr~1 1~iafirict,: Stanley IV1os~ Ce~urzlxou:~e, Dc:p~rtu~r~rlt ~£~

     21lST~t~06245                                                                                   .~.ix~~~t 3 l , 20~t1
     J~t341 FCtiAN(".IATa, LI.C,~ CA[,I~~C~R.'~t:~ LCWIITED                                                   ~}:'~=~ ~M
     C,l~S1LITY ~C)MPA'~Y ~~s CHRI'~ C.'H~:ST'~:R, ~t a1.


     .lud~;~: Hanc~r~bl~~ Hally J. Fujic                         C;~k: I~c~ne
      Judicial assistant: O. Chavez                              ERM:lti~ne
      C~:c~~irtrt~Um Assistant; t~Jc~n~                          I)c}~uty ~h~.riff': None

     ,~,F'F~:~IiAN~'S~
      t~c~r Niairitifl(sj: Ian l~p~s~araracc:
      For I)~°~en~iant(s}: N~a Appearance




     '1ix1TL7RE C?~' PRtlCEE1~l1:~iGS: i~Eon-A~}~ea.ranee C~~: R~.~•ieti+•

      I~eclaz•atic~n was fiieci ~n ~1u~ust ~R, 202t).

      Un the Gourt's own t~~otion, th~'.tic~n-,~p~'l~~Tc~TiC~: C~~~s~: ~e~~i~~~ T~i~~~.~is~al cal' L~nserv~;t# IJefcntt~nt
      scheduled fc~r 09fU112070 is advanced to this ciatc~ and ct~ntinued to 11~0~ 2(32() at I(3:35 ;~.M in
      Department 56 at Stanley Mask C'c~urt.htau5e .

      Ii: ~rrav~'e~f serrric~ is nc~t filed, a I~eclaratic~~~ vf'~3~y the case shc~ulr~ aat h;~ i~isr~issed is to be
      fil~;c~ by Novemt~~r 5,2Q20, case till bL t~isnaiss~:s~ if a. c~~c~ara#ics~~~ is nut fil~ci.

      C'~rtificafe QI''1~1~i1in~ i~ dttac~~c9.




                                     _.                     _                 _       __    _               _
                                                        Minute C)rc~er                                      Pa;~e 1 of 1
Case 2:22-cv-07426-MEMF-JC Document 1 Filed 10/12/22 Page 19 of 38 Page ID #:19




         SUPFRIQR COURT OF CALIFORN[A,C(3U~"~iTY OF LOS Ay~VGEI,ES
                                          Civil llivisinn
                  Central District, Stanl~:y 1~€ask C;aurthr~use, Department ~6

     20STCti'Q6245                                                                       Nav~mb~r E~. 24211
     JKhi ~'1\ANCIAL,LLC, A CAL[FORI~iIA LIVII7'ED                                              B:ZI A:'t1
     LIAB11.1fiY Ct)MPxiN1' vs CHRIS CI~ESTER, et ai,


     fudge: firsncarable Holly J. Fujie                   C5k: None
     3udicial Assistant: O. Chavez                        ERM: none
     C:aunrc~urn Assistant: ~ic~nc                        Deputy Sheriff: None

      APPEARANCES:
      ~='c~r P3aintit~(s7: I~'c~ Ap~~carances
      I=or t)efendant(s); No Appearancc;s




      ~IAT[rRE~: t3F PROCE~:1)INGS: 1~tirn-~1~pearance Case Review

      I3efendant Chris Chester has nc~t been served.

      Default as to Ue#endant Mackie Gibson was entered on October 5, 2020.

      Non-Appearance Case Revier~S r~: t)ismissal of C'l~ris C`Ilestcr fc~r Cailure tip serve is scheduled fc~r
      12/28'2020 at 10:35 AM in Department Sfi at Stanley ~Vlosk C`c~urthou~e:.

      if: proof of service is nvt filed, Declaration, ~uhy the C}efendant Chris Chester s}~c~ulci nc~t be
      ~isa~iissed, is tca be filed by December 23, 20201, Ihtenda~tt will b~ dismissed if the declaration is
      not #ileci.

       Non-Appearance Case Rrvicw re: f3efault Judgment is scheduled for O1i12;'2021 ~t 10:35 AM in
       t~cpat~tment 56 a.t Stanley Mask Caurthousc.

      On the Court's aurn motion, the Nc~n-Appc.ararie<. Case Rcvic~~r Dismissal cif llnservec~ Defendant
      seheduted for 11!()9./2t}2D is advanced tc~ this tiat4 and ~.~acated .

       t;erti~cat~ of M.ailin~ is attached.




                                                                                                           __
                                                    Minute Order                                   Nagy 1 of 1
Case 2:22-cv-07426-MEMF-JC Document 1 Filed 10/12/22 Page 20 of 38 Page ID #:20




        SUPERIOR COURT OF CALIFORIti=IA,COUNTY OF LOS ANGELES
                                                 Civrl Division
                          Central Diatrict, Stanley Mflsk Courthouse, Ucpart~rz~r~t S6

     20STC~'06245                                                                                   June 9, 2021
     JRM FINANCIAL,LGC,A CAI.,IFURNIA LIMIT`E;D                                                        2:34 PM
     LIABILITY COMPAIV~'~s CHRiS ~;HES'T~:~t, et al.


    1ud~e: Honorable Fioliy J. ~ujie                         CSR: Nc3n~
    Judicial ~s~istant; O. ~.:havez                          ~C~M: None
    (~ourtrex~m Assistant: Nano;                             Deputy Sheri #~': hone
     _....~.~,~-,-...______._,._._..._...,,.,~_-  ~~~.-a..~,.~....~.~...._..w...,_ --~~~—~-----            ~---____
     the i:~sut o~C ~rli~tl~er the validity of a for~clr~sure sale ~.an Ise r~scd tc~ ch~lieng~. the claim ~~axnst a
     g uarantor of the underlying lean.

      Het-:, the guaranty entered into by Uibson that ~is the subject Uf this lave-suit {the ~`Uuaranty")
      includes a ntunb~r o1' wain>~r5 c~I`de~~n~es that rni~ht othe~-~vitie be availab(r tc~ the s;uarantr~r,
      Gib~nn, in defcndin~; against the eiiforcernent of the Guaranty.(C'omplaii7t, xhitsit 4.) A
      guarantors waiver of det`enses is limited to legal and statutory defenses expressly set out in the
      agreement.{California Bank & Tn~st v. DelPanti(2010 232 Ca1.Ap~.~t13 162, 1.67.} Thc:
      funcia7~ientai rules o2enntract intc;r}~reCation are based on the premiss that the interpr~tatioi; cif a
      contract must gitie effect to the mutual intentiu~i of`the parties.(ASP Properties Group, L.P. ~.
      Ford, Ic~c.(2g05) 133 C~l,tlpp.~th .t?57, 12G9.}The interpretation of a coyitract is a .{udicia!
      function.(~rou°n v. Goldstein(2010 34 Ca1.App.Sth 418, X32.}"thc objc;cti~~e intent of the
      contracting parties is a legal qucstic~n determined solely by rc:ferenCe to the contract's term.(id.}

      Here, the waiver provision in paragraph ~(a}(~ti) of the Guaranty provides that th4 Guarantor,
      Gib:~c~n, waives any and all rights and defenses prising by reason cif"thy omission «f any
      demand, presentrnent, protest car notice afany kind, including withUut limitation notice of'thc,
      existence, crc;atic~n, incurring, maciitication, substitution or rcr~eu~al of any new nr additional
      indebtedness or of any action or non-anion a~~ the dart of thti }3urro«jer, Lender or and other
      Verson in conneet~i~n wit~3 the ind~:btedn~ss," (e~m}~h~asis acld~d.) Moreover, para~r•aph 5(b)(iv~ ~f
      the waiver prcrvisian states that the C:~uaranC~r r~c~aives 6111 rights to require the Lender to "give
      notice of any judicial car rianjucticial sale or foreclosure cif any real pra~ert}r security [ot] any
      portion ofthe [indebtedness." "This is an unct~nditic>nal and irrtvoca~lc; u~aiver of any ri~;ht~4 anti
      defenses (Uibscyn~ may have because thy: debtor's debt is secured ~y r~;al prt~perty.'.

      Additirmatly, paragraph 6 c>f the Guaranty provides that fhe Guarantor waives all ri~Iits and
      defenses arising out of an election of remedies by the credit~rr such as a ncmjudicial farecic~sure.
      S~ecifical(y, if there is a f'Ureclasure sale on thi sccc~reci property, the amount ofthe riebt'`may
      be re;dueed only by the price for which that collateral i~ soic~ aC C~c f'or~:cic~surc~ st~l~, evEn if the
      collateral is t~~orth more than the sale price." Also, Gibson expressly ti~aiwed "al! rights and
      defenses arising out of'an election of remedies by the creditor, even though that election of
      remedies, such as a nanjudicial forc;closure tivith respect to security far ~ guaranteed obli~azion."

      These and the other provisions of the Guaranty bar Gibsc~i~ from objecting is either the
      circumstances of or tl~e results of the for~clo:;ure sale. "t~~herefore, tla~ validity ~txhe fiirectosure
      sale has na relevance tt~ the entry c~fthc default judgment rtt~uestcd here ~s any ciefec;ts ~s tc~ Che
      notice of the foreclosure sale car ti~~ for~clo~izrc
                                               __          itself t7ati~ iaeen waiv~ci. Under Brown v.
                                                     Minute Order                                     Page 2 of3
Case 2:22-cv-07426-MEMF-JC Document 1 Filed 10/12/22 Page 21 of 38 Page ID #:21



         SUPERIf7R CC)liRT OF CALIFORNIA,Ct~tNTY OF Ll'~S ANGELES
                                                     ~',iv7 Dir~i~ion
                            C;entt~al District, Stanley Mosk Cc,urnc~~use, I)e~artment 5fi

      2USTCV06245                                                                                     June ~, 2021
      JRht ~'1':VANCIAL, L[,C, A CAl,i1~"()R1rIA 1.CMCTED                                                3:3~ PaVt
      C..I~B.ILIT~' C'UM_P~~►NY vs CHRIS CHASTER., et al.


      Budge: I-~onaiable Holly J. Fujie                       C5R: None
      Judicial assistant: O. Chavez                            sRhi: ?~c~i~e
      C'o►artroc~m Assistant: ?~don~                          D~^puty Shcrifif: Nc~r~e

      ~;oidstein, supra, 34 Cal.App.Sth 4 t Vii, 432, Ciibsati lacks scandin~ to cUnt~st the fc~r~clatiure sale.

     i3y r~;asan cif the <~bo~~e, PtainCif~`s Ap~,ticatir~n fi3r Entry af' Serreral i)efaealE .IcEdg~nent a~aitzst
     Ciibsort iti GRANT~T). Plaintiff' is ordered tee subrz~it an u~tlated prapt~aee~ Seti-oral t~)cfautt
     Jud~;rnel~t within tei~ cc~ui~t days of the date of this <)rder, r~t7eetin~; a ca(CulaCic~n of interest that
     ir~ciudes daily interest to the date e~f subrnissic~n and a daily iutcrest amount f'or the Court to
     caiculttie b~ised upon the d1Ee of entry t~f the.jud~rttent.



      YT IS SO O~t.DERED.

      Dated this 9th day of June 2021

      r'~' Holiy J. Fujie

      f-Ion. Ncslly J. ~`uji~ V~
      Jude:. c~f'the Su}~crir~r Court

      tertif~cate of Mailing is attached.




                                          _ _ _                           ___
                                                     Minute C)rde~•                                    Pa~~ 3 oaf 3
Case 2:22-cv-07426-MEMF-JC Document 1 Filed 10/12/22 Page 22 of 38 Page ID #:22



         SUPERIOR COU12T t3F CALIF~R1tiCA, Ct)LWTY C}F LOS ANGELS
                                                    Civil division
                          (.~cnt~°al District, Stanley i~9osk Courthouse, T~epar~m~~nt 56

     ?OSTC~'062~i5                                                                                     .dune 9, _'t)? 1
     JRM ~'TNA"v`C'IAL,1.,C..C, A CAL1FO~RN1,~ LI~IIT~D                                                    ?:3~ E'M
     LIAB~(L,IT1' C,'UMMPA"~IY vs C ttli.IS C:I~~E~TE~t, et ~1.


      Judbe: Hnnc~rable Holly J. Fujic                         C:'SR: '~~nc
      Judicial :4ssi~tant. O. C.'h~vez                         ER~~:'.Vc7nc
      C'c>u~~trtiam t~ssistant: i~c~n~                         C)c;~uty Sheriff`: hone

      APPEf1,E2ANCi:S:
      Fcsr Plaintiff(s): No Appear nets
      f~c~r Dcfendant(s): No Appearances




      ~~1TURE OF PROCEEDINGS: Court Chder

      REQt?ES'CING E'AR'I"Y: Piaintif'fJRM E=ir~ancial, I.LC.

      The Court has ~:nnsidered all ~~}pars 1il~d in cc»~ntcticra with this r~c~uc;st. 7'he Court ~;r•ants
      PlainCiff's Request fc~r Judicial Notice filed May 17, 21)21.

      AACKCiRUUND

      Plain.tifi'filcd a I~equ~st t~7r ~;ntry afSetc:c~~l Default Judgment againyi def~:ntia~~t lvtackie C;ihson
     ("C.iibscan"}. C,ribson is one ~f the guarantors can a lean {the "Loan"} made tc~ non-party Placemark
     Properties I..LC,("Bt~rrc>wer"} in the princi~a) amount of $l.K million anc~ securer! by ~i deed ol~
      trust(the '`DT"'j on certain real property (the "~'ropert~~"). ~3arraw~r defaulted on the Lean and
      ultimatel}~ the U'1 was Corecfoscd upon based an a credit bid of 5200,t}C?0, Plaintiff then filed this
      lawsuit against Git~son and anoThcr ~uarantc7r, Chris (;nester. Gibson failed to Cirnely respond to
      tht: complaint and defauh w•as entered against hi~t3 0~i lJctober ~, 2020. Gibson failed to tin~~ty
     seek r~.li~f` #'raga default, dc:spitc adi»ittin~; to l~zou~l~~d~;e of the La~zXsuit and se~-~-ice prior tc~ the;
     entry of default, and Plaintiffsc~ught ~:ntry of a d~fault,jud~m~:nt in the foil arti~ount;~w•ed un tl~e
      l.o~n, including a credit cif 20U,0t?{3 for the credit bid acc~;pteei at the ftrretlo.~ure sale an the
      F'raperty.

      Gibson ~bj~~t:t~c1 t~~ entry of ttie prUposcd d~fauh jutigiu~nt on thy; grounds, among nth~:rs, that: 1)
      the foreclosure sale was alle~~:dly void because thy: ft~reciosin~ trustee lead nit been 5ti~bstitufied
      in a5 tr~~stee until a~Cter the sale; anc12) the ~2{)O,U00 cr~;dit bic~ wa:~ sc~ tow relative tc~ the vala~ cif
      the Pre}pei~ty as reflected by a subsequent sale as tc~ make the use cif that credit. bid im~rc~per.

      The Court has iUnsider~d thc~t~ ~bje~ii~ans a:; well as all arguments presented in oppc~tiit~i~>n to the
      entry of the proposed default juci~.~rr7ent in inakir~~; this ruli~i~, The Curt s~_~~ cilirally lookcci at
                 __ _                              _                         _      _                _.
                                                     Minute (~}rdwr                                     Pale I of 3
            Case 2:22-cv-07426-MEMF-JC Document 1 Filed 10/12/22 Page 23 of 38 Page ID #:23


                                                                                                                                                                                         . • '1 1,'.
            ~rraaNEv oR aaary wt~r++our arrrr~N~v ~rwema, a~~r~ asr „c~mn~r, a-~reeacrossl                                                            +~orr cr~unr use aNLr
            Kelly A. Swe~ne~ (S~h~ z3g6a3~; Glenn L. Kelbl~:(S~3I~d ~6:935)
            Sweeney 8c T~elble
rn          445 S Figuerr~a St Ste 3aot?, L+as Angeles CAS 9r~u~x
                     ;e~~a~Hn+~~ racy.: (;~ycl~ ~}~5-4~L3$CJ         ~~c wo. PG~nraona~: ~3~~}95~'4~5~                                                    ~'~~.~.~
c4i
Cr            k.PdRILA4GHF..`~"ift~ptr~nai}. ~~P.7111~~{$~'j1Vr7YY.C=(3CTk
                 ar~naev~or~~rr~~t. JRIY{ FiT13nC3~~, I.~,C                                                                                  >u~rie~~~ ~ou~[ t~f ~~t~itOrnk~
~'v                                                                                                                                           Ca.is~ty o4 4~c~c A~rgekes
C'~         5UPERI~Fi ~ptk~"C CiF GAUFC}~tNIA, CCJi}N'tY Gib L(~`v' AN{,i~I..~~
C`~t                                                                                                                                                  ~~~. ~`}f~ ~(~~~
                 srtk~~ra~ck~~: 11t N Hill St
tt^V             t~ar~.irx~nanaE~.s 2fi';~ E~11~ St
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                c~rY aMr~ t~~ cae~: i,os f1n~~~es Cis ~t7O12                                                                             5h~raE R.                 ~aeutiv CJEtic~rtGt~rk
 ~J
                        FJHaxNCN NaME~. ~~~II~E'}' 1~
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                                                                                                                                         6y._.. ...
                                                                                                                                                          :.iltr~tlti bVpC3dS
                         wtAi~7»~: J~tM financial, LLC
 ris
 c:~
                      C3EFEfttDAIVT' ~~iTiS ~7t'.StE',I`, et ~~.               .__~__,__.~._._.s _         _.~................_.
LC                                                                                                                                       ~as~ raun~ees~
                                                      ,llli`JC~MEiV"~
        i
as                  By Clerk                    .~]
                                                -,~ By Ref~Uit                   ~ Af4er ~~auri'~ri~6                                     ~t~c;~'CVf~g~~5
                 (~ By Go~rt                    ~ On tipuiatiora                 t~ Defendatst did idol
                                                                                    APP~ar ~t Triai
 0
 c.s                                                                                    .1Ut~Gt~fiEN7
 0~
!~~         1. ~ EtY DEFAULT
                 a. tie#~ndani was properly served u+ith a c~npy cif the surnmans~ and Cornplair~{.
                 b. Defend~n4 sailed to answer Ehe com~daint Qe appear and def~~cS thre action within #h~ time allowed by law.
                 c. De~endanYs default ~~aas entered by the ci~rk upcan pfai~rtiff's a~pkicat~on.
                 d. ~ Clerk's Sudgment(Cnd~ Civ. Pr~ac., ~ 585(aj}. D~f~ndant was sued er~fy an ~ confr~et or j~dgrrtent c~fi a court c=
                         this sta#~ far the recovery of rr~aney.
                        e. ~,] Court Judgrx~ent(Cade Civ. Proc.. § 585{b}} T'h~ court car~sider~d
                              (1 j ~ pl~intiN'S testimony end ath~r evidence.
C
~i1                           {2} j~ ~lainti~fis written de~Iaration (Code Civ. Prac., § 5$~(d}}.

r-          2. ~ C1N ~"ClPUl.ATlQN
r~i              a. f'laint~tf end defendant agr~~d (stipul2teci~ that ~ judgm~:r~t be ~nt~red in 4hi~ ~~~~_ 3he court approved the siipuiatec~
                     ~udgmenC and
c~
c~               b. ~ the signed written s~ipulafian was ~iicd ~n the ca~~.
cv
                         c. (~ the stipui~tEcrn was stated in open Court                   ~]the siipulat~~an was 5.afed an thy: record.
cat
a           3. (~ ASTER CC3URT 7RIAE.. The rury was waived. Thy cnuri carsider~d the evidence.
z~
                         a.    The case was tried on (elate and time7:
as                             kaetore {rrarn~ o/jueli~i~l o~freer)
ca
                         b.    Rppe~;arces by:
CL
                                       PlaEnti~f (narrr~ each);                                                 (~ #~laintifif's ~ttcr~y (na~~ eacdt3:
m
c>                                     {7)                                                                                         (g}
c>
c~ _,                                                                                                                              r
                                      (~)                                                                                          ~~l
f3'
                              ~
                              ] Cantmued on Attachment 3b.
tU~-'
 t~_h
 ~;~                                   Defei~d~nt (r~arrre each):                                                 ~; ~~f~ndan# '~ aCtneney ~`r~zrrne each)
 r,a
 rF                                    jt}                                                                                         ;1}

                                      (~}                                                                                          ~~~
                              0Cc~ntinu~d on Attachment 3b

                         c. [~ Defendant did not app~.ar at ~r~ai. Q~f+~ndanY was prtsp~riy served with notir,~ cif triari.

                         d. (~]A stafem~r~t of d~ci~iar~ {~o~de Csv. roc., ~ E~32) ~ was roof                                 .~ was                  requested.

                                                                                                                                                                                            Paget i of T
             Fotm Rpprarrd to; Op~wnai u:,r:                                            JUpGMNT                                                                 Ccxfe of Grvrt (~roc~dtir~, §§ 599.4s0A 6
                utlici3l Counral bf Ceisbrnin
             JUD~I(~'}~NErvr.;anw+:Y ~.20P21
  Case 2:22-cv-07426-MEMF-JC Document 1 Filed 10/12/22 Page 24 of 38 Page ID #:24



        PtA~~tYi~F~ 3RR~f Financial, L.I.0                                                                      ce~s~mmn~a.

   ~~FEr~Dptv`t Chris Chester et al.                                                                               zc~STC~%ofs2.}5

                su~~~~ar ~s ~~~r~~~~ as ~o~.~.c+ws ~~r:                            ~J ~rr~~ cc~u~~          Q ~c~+~ c~.~~~
 4. ~ Stipulated Judgment. Judgment is entered according to the 5tipuEation of the ~arlies.
  5 Partiex. Judgment is
    ~. [~]for plaintiff (narrre each}:                                   c. ~J far cress-c~mpiainant(name eachj:
              dRM F'inanciat, LLC•, ~ ~aliforztia limited liabi}ity compan}~
             and against d~fendani (nar~res):                                  and against cross-defen~iar~t(name eactr):
              ivlackie Cibscrn, an individual
                   ~
                   ] Ccanniir~ued on Attachment 5~.                                                    ~jContincr~d on Attachment 5c.

         ~. ~ for d~fendani {name each):                                                        d. ~ for cress-defendant {r~~m~ each):


  6. Arnaunt,
     a.(~] C}efendant named in item 5a about mint                                           ~. ~] Cross-defenda»t named in item 5c above must pay
             paY pi~iniif~ an the eompi~int:                                                      crags-complainant on the cross-complaint:


                                                                                          d 1} [`~`~    t3amaq~s                       $
       (2} ~ Prejudgment                                 ~ 94~,~50,t~o                    (2} ~         Prejudgment                    ~
             inter~5t ~t:the                             {interest on the Princip csf                   interest at the
                                                         ~l,Bc~tr,g4o.(~o at t7.~~ ~ frar
  i                  2R~tU81 ~~b~ Qf       1'~.(?K}°/n
                                                         617j~a~8to blr4f~oa                            annu~i rate of           °fo
       (3)('~} Attorney fees                             $ aq,$yt7.t~c~                   {3) ~         At#Arrtey fees                 ~
        ~~) [~J cosy                                     S 435•x4                             {4j ~ COStS                              $

                   .~                                     daily interest from
         J~ ~ (
        ~r      .}t~"f@f ~Sjl@Ct~~:                      $ (}f`~i2L731 tEf @X1tC}' O
                                                           jutl~ment at ~E3t~.ao Say.
                                                                                              {~)        TC)TAC.                       ~             ~

          b.(~ Ptaintiff to r~ceiv~ nothing from aefendar~t                                   d. ~ Cross-c~mpiainant to receive nothing from
               named in i4em 5b.                                                                   cross-defendant narr,~d in item 5d.
              ~ Creierrdant named in item 5b to recover                                           0Cross-defencia~t Hamad in item 5d to recover
                     costs $                                                                             casts
                    [~ and attorney fees S                                                          ~ [~ end attam~y fees ~

  7 ~} Uther (specify):



~~
~~ oats: 7~~'~~-/                                                                                                  c}~r~CER


      ~8~~':                                                                      Clerk, by         _          ._~-''~                     Dep~ry

                                                            CLERK`S CERTlFiCAT~ (C?Ptic~nat)
~~
                                           cerfify that this i~ a #rue c~ipy ta# the origins! judgmen4 an til~ in [he court.




                                                                               Clerk,. by                                                  •-. ~

                                       ~                                                                                                    Page:ofi T

        ~uarcro ~r~ ~ ,.a +,zo~i                                                JUC9GNIE1U7'
Case 2:22-cv-07426-MEMF-JC Document 1 Filed 10/12/22 Page 25 of 38 Page ID #:25



         SUPF.RIQR CUURT OF CALIF(3R:VIA,COL~tti'1'Y t)F LC?S ANGELES
                                                      Civil ~~ic•ision
                               Central District, Stanley Mask C;c>urtl~ouse, Departr~lent Sb

      20STCV06245                                                                              November S,?021
      JRM E'1VANCIAL,LLC,A CALIFC)RNIA LI1~~ITE+;D                                                    ~:3() Aivl
      LIABILITY CU11P~i~`Y vs CH1tIS CHESTER,et af.


      Judge: Hnnorabie t-~c~lly J. ~uji~                      C'SR, Itiane
      Judicial ~'#ssistant: O.C'havex..                       ~:kthi: l~o~~~
      Courts<>m Assistani: ~. C.`i~avez                       Depl~ty ~;hcrif"f'. ~3c~t~c
                                                    --                                                   --~-~
      A.PPEARAtiCtS:
      Far Pla~intiffts~): Glean C Keltslt(By I._~1C;C}
     far Defenci~nt(s): -~talph f-larris~n IC (E3y [.ACCj




      N~1TtIRE O}~ PRdC:EF,DiNG5: Hearin; on Motion to Set :~sideIVacate Default And I)~fault
      Jud~nae~at {CCI' X73.5}

      T~ti~: m~t~r is heici.

     'fhe Court hears oral argument.

      Thy ~ourE's tentative ruling becomes the <yrdcr ref the Court.

     "fhe Motion to Set Asit~~;lVacate C}efault and / or I7~tault .luc~~an~nt filed by Chris Cheste~~,
      i~lackie Gibsvn on 10%13i`2021 is C)enied.

      MOVINC~ P~R.TY: D~fen~ianr Mackie: Gib~an (`•Moving Defendant")

      RESPt}NDING P~1I~TY:!'1ainCiff'JRM Financial. LLC

      The Cr~r.trt has c<~nsidered the ~Sic~ving, opposition anel reply papas.

      ~3~1C'KGRC)U?vD

     t)n Jw~e 9,202I, after hearing; arguments, this t'c~urt granted Plaintiff's application for entry of
     default jusi~;ment against Movin}; Defendant and r~rd~red Plaintiff to :;~46~nit an updated proposed
     judgment within tin days of the (:`Dart's «rder. ~'laint.ifF submitted its prnppsed juc~~;me~rt c>n. Jun4
     24, 2021 anti jud~;mertt «~a~ entered against Mo~°►n~; Defendant Un July 2t), ?021.

      i~4avin~ Defez~d~nt filed a i~otivn t~ set aside a voicj jud~snent (the "Motion"}, cont~~idin~;, in
      part, that the judgment entered a~*ainst him can July 29, ~{)21 is uUid because Piaintiifi's pm}~osed
       jud~r~~cnt was untirl~ely 5~ibmitteci.
                                                                                 _.
                                                  h9inute C~)rde►•                                1'a~e 1 of?
Case 2:22-cv-07426-MEMF-JC Document 1 Filed 10/12/22 Page 26 of 38 Page ID #:26




        SLIPFRI~R COURT C1F CAI.,[FUR~1iiA, CUUNTI'C)C~' LU5 ANGELES
                                                    C"i~il Division
                            Ce~ltral District, Stanley Ntosk Cc~urth<~use, Department 5b

     20S'I'CV0624S                                                                                   Nc~~•ember ~,?U21
     JRI~i FINANCIAL,LLC,A t"ALIFC3R1'~tIA LI~3iTF;D                                                          K:30 A~r1
     L[AB.I.LI'['Y C'UMPAI~'~' vs CIiRtS ~HESTEIt,et at.


     Judge._ f~~on~~rable H<~lly J. Fujie                        C'Sit: Nt~nc,
     Judicial 1~ssistant: C).Chavez                              ERM: ~lcsne
     C't~u~tx~~m AssisCan~i: Ei, Chavez                          I~e~~.tt}~ Sheriff: ticm~:


     In its nppositi<m ("the "Oppc~siti~n"), F'laintiffargues that the Caurt should deny ttie ~9otian
     because Moving Defendant failed to e5tabiish a proper ground far reliefunder C.alifoz~~ia Cayde cif
     Ci~~il }'rocec~ure("CCP"j section 473, subc~ivisif~n (b). {Opposition x:27-5:27.) Plaintif~'alsa
     argues that the proposed juc~gm~:nt it submitted was "r~asc~f~ably tiir~~ly"and the o~~e-day ~1elt►}~
     did nvt rec~~iire t~~. Court to r~;}pct thy. ~?rt>~as~d,jud~ment. ({:?p~oyitic7n 6:13-24,}

     Moving Defc;ndant clarified his p<7sition rn Isis rely {the `'Reply"}, st~tint that the N~lotion ~~~as
     b►•c~ught pursuant to CCU' sr:ction 473,. subdivision {d) because the proposed judgment was
     untimely submittcci ruyd i5 thus void. .1~4or-iit5 D~:fendant arbue~ that Plaintiff u~-as required to
     su~imit the prapaseci,}ud~;ment within 10 days of`t1~~: Gourt's order pursuant to California Rutcs
     of Court ('`C.RC"y, rule 3.1590. Having Defendant ar~ue~ that there arL na exceptions tc~ CRC.`
     rule 3.15 0 and atic~u~in~ the.~ud~;ment to stand effectively creates a double sta»cia~•d wh~.rein
     }'laintiff is not bound by hard deadlines. (See Rerily .3: t-1~.)

     While the Court acknowledges Nlflvin~* [)efendant's frustration, the Court does not adapt
     Moving I3~fend~nt's interpretation of C'ItC rule: 3.1590, as that praviyivn applies to.jury trials
     acid is therefc~re~ inapplicable t~c~ thy: }~r~sent matter. The Co«rt also ~iot~s that the ruiesregarding
     c~rnplyin~; ~.vith d~ac~line~s sc7 as not to be subject t~~ d~f4~ulr ju~3,~i~i~nt 4~r4 sf~.ttrtc7~rily b~s+"ci, unlike
     C'ftC: pravi~ions.

     "C'hau~h p'laintiff's proposed judgment ~~~as sut~~~iitts~cl one day aftc>r tine tim~frame d~si;~nated in
     the Cc~ut-t's .luny 9, 202 t order, the; Court exercises its cli,cretion and ciecline~ to set aside the
     jud~ti~ent nn that basis.

     7'he Cvurt therefore DENIES the Motir~n.

     t'laintitf is t~rclered tc~ dive notice.

     Dated this 5th day oCNovember ?021.

     's:' Holly 1. FtEji~
                         W~___._____
     Holly :i. Fujie
     Jude of the Superior Ctourt


                                                       1v{in~zte Qrdc;r                                      F'a~c 2 cif 2
Case 2:22-cv-07426-MEMF-JC Document 1 Filed 10/12/22 Page 27 of 38 Page ID #:27




         SCIPERIOR ~OUl2T OF C~i,LIFO~I~1~, CUL7N7'Y U►1~ L~~ ANGELES'
                                                  Civil Division
                          Central District, Stanit~y M.osk~ Courthouse, DcparEm~nt 5fi

      20STCV0624S                                                                                 June 7.2022
      JRM FtitiA~ICIAL, LLC, A CAI:,IFt)R~l.4 I.:IMITED                                             11:2 A
      LIABILITY CUMP',~NY vs CHRi~ C;HEST~:C2. et at.


      3ud~e: 1-~onc~rabl~ Holly J. Fujic                   C'SR: Nur~~:
      Judicial Assistant: C).C'havez                       ERiv(: ~~ne
      Courtroom tlssistan~: tiun~                          Deputy Sheriff: None

      A~'PEaR~►?vCES.
      For Plaintiff{s): No ~ppearai~s:cs
     I'or Uefendant(y}: Na Appearances




      I'tiATtT~t~ t~F PRC3CEEDI'sIGS: Ccsu~t C)rc~cr

      ;Notice of Urder Remanding 3~}atter tc~ State Cau~t ~~~as filed on ;~ri.a1' 19,'02 .

      Final Status C;t~nference is scheduled fc~r g9~201~022 at X8:30 AM in I)cpartment Sb at Manley
      Mask Courthouse.

      The Court orders counsel to prepare a j~~int exhibit list (urith stipui~ticrns car abj~ctions ricaCcd as to
      each exhibit), and a.jaint ~-fitness list {with time estimates fc~r each side and totals). Counsel are;
      c~rciered tc~ comply tivith De~rartment Sb Local Rules.

      Non-Jury Trial is schecfulec~ For 09j27t2()22 at 01:30 AVi in Department Sb at Stanley Mosk
      ~'c~urthouse.

      Certificate of Mailing; is atiachcd.




                                                    Minute {)rcier _      _                          Pale 1 e>f' I
         Case 2:22-cv-07426-MEMF-JC Document 1 Filed 10/12/22 Page 28 of 38 Page ID #:28




lertronicaily FILED by Superior Court of Cai~tarrxa. County d i.os Atu~eles on ~5~19l2022 04:19 PM Sherri R. Cart+x, E~c~;cutiva CN(~cer;Clerx nt Gaun. by E. Gregg,Denuty Clerk


                 t    K:~IIy A. Sweeney, SBN ~396i3
                 ~    Glenn t'. Kelble,SBN 16zg~~
                      S~~eeney & Kelble APC
                :3 ~~ 445 S F~gu~rc~a St Ste ~3io~
                 4 ~s.Angeles C'A g~u~l
                      Tel/Fain: {3x~)955-4 50
                 5 . keily(c?ksgklaw.cc~m; ~lenn~c~ks~klaw.~om                                                       .

                 6 Attcrrrieys far JR.~'I Financial, LLC"
                 7
                   I
                 S '=3            SUPERIO R COURT OF THE STATE OF CALIFORrtIA
                 y                           kl7rit'I'HE CC}URT'I'Y OF LOS ~TG~.LES
                icy
                 r ~ ~ JItI~~ FINANCI~'~L, LLC,a California                                                    ~`A,~;E Nf~.: r~t~STC'V~6~q
                       limited liability company,
                12                                                                                             ~Tt~TICE OT U.S. DISTRICT
                                     Plaintiff,
                                                                                                               Ct)URT'S URDER REMANDING
                ~~ vs.
                                                                                                               MATTER TO STATE COURT
                14 CHRIS CHESTER,an individual;                                                        i
                ~ ~ MACKIF,GIBSON,an individual; anc~
                       DOES ~ tlii•ough 20,
                1b                   Defendants.
                 x~
                t8           P'LEASE TAKE NOTICE that the U.S. District Court issued its Order Remanding
                ~9 Matter try Stag Court, a true acid correct cQpy~ cif w~~ic~ is attached as hi~ait ~; and
               ;~~> ~I the Clerk of t ie U.S. District Cuurt issued a ziotice of the remand try the. I..c~s ~ngeies
                zi a~ Cunt}7 Sup~r~ic~r Court -- Stanlcy~ ;~~ask Cc~urthnuse at 1i~ N. ~~ill 5tz•~et, l.os t'1n~;~~les,
                2~ ~ CA goc~Y2 that stated it included a certified copy of the Order of Remand, a trt~c and
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                24         Dated: May ig,2022_._______._._                                      Sweeney 8                lk~l          C
                 ~5                                                                             By.                f                        ___                                    .. _
                ,,~                                                                                        Glean C. Ke ble
                                                                                                           Attorneys for JRM Financial, LLC
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         Case 2:22-cv-07426-MEMF-JC Document 1 Filed 10/12/22 Page 29 of 38 Page ID #:29




           1     Chris Chester
                 6901 bounty Rd 1145
                 ~e~este Tx ~5~~3                                                                    FIL.ED
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                                                                                           county of Las Anga#es
           ~     Mack ie Gibsnn
                 5403 Thunderbird St rapt B                                                      FEg ~,~ ~q~
           9     Zago Vista TX 7$645
                 469.ti Q0.1806                                                     . S'lt~n R. Carter, Eac~cuwe 01t~cer~t~erk of Court
           $                                                                                   9y: Y. TarBsyuk, C~puty
                 Defendants Pro Pex
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            9                                         COUr7TY OF' "LC~S ARsELES

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           36                                                    }
                 company,                                        a
           ~~                                                    i
                                 Plaintiff,                      ~
           18                                                    1
                        vs.                                      ~

           }9    Chris Chester an individual,                    j

           ?~    Mackie Gibson, an individual,                    j
           21
                 et al,                                           l
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•          22                                  deE~ndant
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                  PLEASE TAIC.~ NOTICE THAT,on February 11, 2422 deE'endants filed a notice of'remaval,
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                  pursuant to 28 U.S.0 §1332,144 t and 1446, removing the above captioned action from the
            z~
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                  NOTICE Of' E'TLINC- OE" ftFMDVAt,
Case 2:22-cv-07426-MEMF-JC Document 1 Filed 10/12/22 Page 30 of 38 Page ID #:30



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       Christopher Ghester                                                               i                                                                                i
       6901 Couniy Rd 1145                                                               i          —~.,.._._..~...
     ` Celeste, TX 75423
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     i AT70HMEY F0~2 (Name;. PIdI~tl1~ rCO PeC                                                                                       County of Las Angeles
         SUPERIOR COURT OF CAL1~t}RNIA, COUNTY QF LOS ANGfI.ES
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     (~...PIAiFITPFFtPE71T1QAPEF2'.                                                                                          ~►CCTY R.. C$I~ECi,
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     I JR~A ~inanctaP. G.LC                                                                          _.
         o~~~rtot~rr~ReSaoNo~rrr.                                                                                        ~~Y~.,L~~ /                     ~ ~~ ~7
        Christopher Ghester, et al                                                                                                  C}scar ~ho++cx
     }_._..~._.~...._.._                                                                                                                        ~.-_._.__._.
     i                   PEREMPTORY CHALLENGE TO JUDICIAL OFFICER                                                       ' ~~~sEr+~~QEa
     `;                           tCade Civ. Prac.~~170.6~                                                             ~ ~ 20STCV06245


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                                      Holly J Fuji                                                                5a
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                                             Judge                       : f Ct~mmissioner                                 ~": Referee
                                                                                                                                            ~~~'T.
         1 am a party (or attorney for a party io this action Qr specie! proceeding. The judicial officer named
         abflve, before whom the tr~af of, or a hearing in, this case is pending, ~r to whom it has been
         assigned, is prejudiced against the party {or his or her attorney) or the interest of the party (or his or
         her attorney), so that decEarant cannot, or believes that he or she ~~annot, have a fair and impartial
         trial or hearing before the judicial officer.



                                                                       C3E~E.Ai~ATit3N
         ! declare under penalty of perjury, under the laws of the State of California, that the
         information entered on this form is true and correct.

                                 Christaph~r Chester
         Filad an behalf of: .~__.__                                                  (~; P1a~rttiffiPetition~r                 ❑ Crrsss Complainant
                                     ~arrte Q€ Party                                 (~ vefend~ntlResponderit                   ❑Grass tleiendant



         Dated: 912~I2022
                                                                                     Signature of Declarant                    G~,.~I/C.~~''~'" ~-~`''

                                                                                      Christopher Chester _._
                                                                                                                                                            __.__._._~.
                                                                                     Printed Name




         t,hC:~V OtSt~ev, t~-iaf                 p~#~~~pTURY CHALLENGE ~`O JUDICIAL GFFiCER                                                      Cotle Civ Nroc., § t70.6~
         1 ASC APWOvtld 1}x-04
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Case 2:22-cv-07426-MEMF-JC Document 1 Filed 10/12/22 Page 31 of 38 Page ID #:31



           SUPERit)R Ct)iJ.~tT' {~►~ CALiFC}RNI~, CfJU~T~' CAF I,C>5 ANGELES
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      LIABILITY CUI~IPA~Y vs CI~RIS GIIESTER, et af.


      Juci~;e: Etc}r~c~rahl~ ~~c~lly J. Pujie                        C=~~: ~c~ne
      lucficial ~~.4s~ist~ant: C?.~laavez                            ER~'~~: None
      C'ountroc~m Assistant: B. C:l~~vcz                             I)~p~uty Sh~rii'f: ~Ic~ne
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      :~A~'~A~tAN~'F~S:
      Far f'laintiff(s}: Gle:nr~ (: K.clblc (~'resent)
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      '~I~1TUR~: t3~ ~'1Z(}(;.EEDI YG:S: Non-Jury Trial, C}rd~;r to Shaw C~us~: R~;: i7ismissal and or
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      T'h~ matter way set fnr trial.

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Case 2:22-cv-07426-MEMF-JC Document 1 Filed 10/12/22 Page 32 of 38 Page ID #:32




          SUPERIQ~t Cf)URT'C}F GAI..IFC~~R~IA, CUUNT'Y()F Lt3S A~~EI~ES
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     Case 2:22-cv-07426-MEMF-JC Document 1 Filed 10/12/22 Page 33 of 38 Page ID #:33




S~r~i dram my iPhane

Begin fs~rv~arded rrr~ssae:


     From: Glenn K~;bie ~glennk~c~kf~w.com~
     ~~t~: May 4, 2C3~1 t 11:a5~~1 AM P€~'T
     Trs~ ch~~t~r2C~2'ta1~m~ii,carr~
     Subj~c#: JR ~inancia~l, LLC v. Chester, ei al.



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     Jed?dl F`~n~~nCi~i, ~.LC v. GstGSfa~^, ei al.
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     st~ni~y tv#~sk Ct~urltaous+~, i11 N, Hal( St.. ~c~s Ang~ls~, wA 94C~ 3 2
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     Mr. Ct~est~r:

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     may need to reulsw. I am ntst sure wt~y aT today's hearing Mr. Harrtstac~ was hung up on this sutsststu2ion of the tore~lcssure tfu~te~
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Case 2:22-cv-07426-MEMF-JC Document 1 Filed 10/12/22 Page 34 of 38 Page ID #:34


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       Case 2:22-cv-07426-MEMF-JC Document 1 Filed 10/12/22 Page 35 of 38 Page ID #:35




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Be~ir~ fc~srvardeci message:


       ~re~m: Gienr~ KeEb~~ rcgd~nr~~ksc~kl~r;r.co~~►~
        C7ate: dctobsr 1, 2~J21 at 1~21;t}3 PM PCT
       '~cr: chester2~21o1~•~gmail.com
       Subject: JRM Financial, l.l.0 v. Chester, et at.




      JRiv1 Financial, GLC v. C'~ester. et ai.
      Las Angei~ss Jaunty Superior Ctaurt Case No. 2QSTCV~~i245
      C3ur client: aR~r1 financial, Ll.c

      Mr, Chester:

      I have attached a cagy of the ~udgirieni enterers agarnsi Mr. Gibson in this ease. As you i~nrsw, t'~e court conside~zd aii a# your factu~!
      and legal argum~:nts against miry of ±he judgment, brit in the end the court agr~~:d wi#h our posiU~rn and en~~re~ The requested
      jtedgm~nl.

      Unlike Mr. Gsbson, you filed an ansever anti are a~~ ac#ive defen~anl +ri 1hEs case, 1~Ve havE a final status conE~renc~ s~I for D~cembeY
      1, ciT2 t rind the tr~ai is sciieduieci t~ start o,~ January 1a. 2022. 1`h~ same issues w~i! be presertad at trial as were before t~:e c~un
      wean ii considered our request for entry of }udnment ,~gainsi hlr. Gibson. Yc~vr position ~s nn d~tF~reo,t than Mr ~,ibsons, ana the result
      wail Iikeiy tie the same.

      'sI you are willing tc ciisCuss re:;c39uiior~ prior t~ these upcomfnc3 dates, my client wi#I be wilirnq to li.~fer~. A#t~r it his toad to preaare fear
      the incoming fin~3 status conference and trial, they will nat b~: so receptive io tliscu5sint~ raso#utiorG_ So nuw is a good Yime.

      ,~s 1 h~av~ rnc~nt~o~led beior~. i knave from re~res~~Tin~ Anchor Laans aryl JRM i~r ih~ fast d~~cad~;. fh~# tnty can be r~~a~anabfe in
      resctiv~ng matters. They uncierst d the e~conan~ia r~aHSir~s of ~ qu~ar~ntor's p~rs~n~l flt~~nc~~i s,lu~Ysons and tike that;ntn
      cc~n5id~ratit~r~ whin tryiru,~ t~ re:~olve rtraiters. Therefcr~:. I t~lieve that a discussis~n ~bou! resolving the master wcsuld be ~~rpciuct}ve if
      we i7ave it sown. Please rho not asss~rne that sinr~ tine amounE so~,ght a~ ihis case is h~gn, tP~at discussing resolution wauw~ oat be
      fruit#ui. Give m~ a call and we can discuss. Lack c~E ccmmunicatic~r~ wil3 simply lead tcs a ~udgmeilt anti ~udgrnent co(~ection actiarrs En
      Texas which can ~e rather d+sruptive. Let's see what we can cia betare that ha               r.s. 7l nk you.

      C6enn f„; K~;1t~Fe. ~5q.
       «mage001.prrg~
                      Sweeney ~ Ke{ble A!'C
      445 S. Figueroa SirEei. Suite 31os~
      ~.OS Aitt~GfL'S, CA X79

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      www.k~gklaw.cgm

        ^:a cir:crron,r Iran,msr s:on pncludirtg ans ~ttaChmer;txi .s irsien~:i for itsn_ ysc ir [ie ~,^u~vftlual ~r grpuq =.o whips R ~5 ~tSt3res3eti antl may ctu-~E~ir ~#CrFr,;~hon t~«I is
       >r~v;,ryed, cantiuentia! usK2 exrim{,1 !roan drs;,byuea ~rrdatr aE~llcav;e taw. it the rc~eCe: rat Eh~z~ ek~2ipr}i~ transngiss~qr~ r~ hcS± Ehra trKcs+rcidd reei{r~erst y~,ar; pre IaerE:rtrf
      r~ctn:¢u that arey d~s5e;m~~afi~ to capyir~ of this comniu~ca?ar, ~s s~ncuy prcNa~h~ted. Ma+eaver, :S you are not t!~es int~ana+.~c1 rae~~e:nt ~r.0 navc+ r~c~sve~r t~s;s
      c;:;mrnari~,atuin sr~ arrt~, ~Ye~se t3etl~f~, car Ott~twcy~s perrtwFurntiy c1~5tegy the- a~g~~~n~ trdn5r7e;9iWi. ta~l9aher rivth any t~r1k ~'i re~pies ct Sptt+~- Think yam,.


      X2021-Q7-29 Judgment (Mackie Gibson3.pdf>
       Case 2:22-cv-07426-MEMF-JC Document 1 Filed 10/12/22 Page 36 of 38 Page ID #:36


~rorn~ Gienn Keib{e <gtenn(~ks~klaw.corr~>
C~ata: October 7, 2Q22 aY X1:34:4$ PM Pt~7
To. Christopher Chester <ch~ster2021c~i(a~~mail.com7
Sut;~ject: JRM Financial, LLC u. Chris Chester, ~t ai.

i=UR SET7l.EI~tEt~7 PURPOSES CINLY
JF~M Financial, LAC v. Chris Chester, eC ai,
Lc~s Angeles C~surstyr ~~~p~rior Cn~rt C,~se No. 2{JSTCVG62~5
C ur Ciier~t: JRM Fin~Rci~l, LLC

Per. Ghest~r

t. Fit m~ Icy this out fiar you sa there is no misunderstanding.

 n (7~cPmber 2 16, Anchor l4ar+s, LP ("Anchar") made a Iran t~ your company i~l~r.,~markc Rro~erties, i~L.0 {"Piacer~~rk"} in Ehe aj~nc~unt caf
$1,3QU,Ot30.0~ secured by the property {ocat~d at 35:5 Muitivic~w Cdr., Lis Anc~~l~s, ~,n 9C7C~~8. ~t the time the Egan eras mar3e, Yr~u wire the
m~naginc~ merriber pf Placemark, and signed the loan documents. You also signed a personal r~uarar~ty of tt~e lawn. t'he guaranky you signed
e~~~ressly waived any right to require the lender to pursue the secured pra~erty fis~st, or at ~Il. Fire g~M~a,anty also wa~v~:cl oily abjeet~on try the Seric#~!r
r~ceiviny i~ss th~r~ the property's value 's n a fr~reciosure. The guaranty includes w~riwers of ~!i rights ar~d defen~e~s that tt~~ ~uar~ntor may have
t;ec:ause the guaranteed debt is sec;ur~ei by real pr~g~rty {see seetir ns ~ ~nci to fr~r these waEv~rs}.

 F'1~3cemark only made ~ handful of payments before it stopped making {~aym~n~s an the 9oan (the cast pa~1n~~nt made vas credited to the g~aynie€~t
c~uc~ ors 6J1J201>}. Ptacemark then proc~~;ded to file tt.~+a fiailer! banicrus~tcy rases to try and stop the foreclosure. The foreclosure sale was not
filially cgmpleted until Jung 2C?8. Placemark hacl aver a year ~fker its default to try and sell the ~rop~rty to pay uft Anchor, +rah rh it did not do.
6mm~di~tely Kzricar to the foreclosure sale in June 2Q1$, ~2,177,64£i.'1F v~ras still due ao~d outs#anding under the loan (consisting cif outstanding
 pri~cipa{ of ~1,8i3Ct,U0(}.00 plus accrued interest anr.~ other charges of ~37I,b4t~.1~3}. The property averted to JRM (Anchor's haldinc~ company
f~7r ~t~t7 foreclasuresj for a credit ~iicl ref $2Cl{~,00{?. Your Guaranty waived any i ec~uirement that Che <ender pursue the col4ateral t~efore your
guaranty. taut, if tau Irani ea claim that the foreclosure shcnridr7`t have occurred, we can certainly add back in the additional $`.?OC3,~t~0 from the
credit bicl to uehat you owe antler your r~uaranty -- but!suspect that you w9u~c3 not wa►~t this. Under Califnri~ia law, the lender's damages are fixed
  try rn~ sale price at the foreclosure sale (with ~dditionai interest accruing ors any remaining principal left after the salej. So, after the foreclosure
sai~, tt~a; prineipai of $1,8tJ0,000 pSiss other remaining unpaEd interest end charges r~# ~1"1'7,~i4~i.1~s ~rvEr~: still due on the Iran. interest continued t~
.accrue on the u~~paid principal at $850/day (77°10 default ineEres2}. That is what JRM is entitled to claim at trial (arrd is the same calculation the
caur~ a~prnved in fhe default judgment againsf your co-guarantor last year}.

JRM'~ legal claim in this case was fixed at tt~se farecEosure sake {with i7tarest accruing ors unpaid principal). both tnc burden and l~~nefit of the
prc~~;erty became JRM's after foreclosure. This is ~:stabiist~ec~ law in California. Therefore, ~r~hai JRM1A ~ventualiy did +pith the pro}~rry is of rya
rElev~rnc~ to its claim on your guaranty.

r~lowever, tc~r tt~~ sake of discussion, !it's look at wrrat happened. JRM eu~ntually was able to sail the property in a market sale an Nov~mtaer Z7,
Z(~1~ far $1,768,500.007 -this was the true value of the property at Tt~~ tin7e, as it ~re~s listed anti this was the highest offer that JRM receiver. 4t
kh~ time, the balance due on the loan was in excess o~ ~2. ~ rni4{ic~n (due to accruing default intei-esti. But, if you want to factor in the value .IRM
gtat from the sale (which iegaUy we are not required to clad, ancf accounting fior casts of sa3e of 5°!~ {}paid to brokers}, you are stil9 I~okir~g at ea
shortfall of approximately ~637,pt7(3 a#ter the 2L?19 market ~aie -and this does not even account for the substantia{ carrying costs JRh~~ incur;ed
with the property anc! adciitiar~ai substantial expends#arcs it had to make to position the ~~rop~rty far a sale at this price. ~i,t fc~r~ the sake of
argument let's just look ai the $637,130(} shortfall without ~ccouniing for the carrying casts. What amount would have continued to accrue ;merest
at thia default role of 1i%~ through today, for a balance of approximately $~51,OOU. Sra thr;*re is nt~ qucstic~n that JRM has a very real, and very 3arge
I~~s in this matter. if you want to argue that this is tivhai you ati~~c, then we can certainly discus. Again, i assume that you are not able to pay such
sn amount. My client is not unrealistic and assumes that ypu would have no ability to satisty a judgment in the amo~~nt which it is seeking at tria6,
sand it assumes that you also could not. manage a judgment of $9~1,Ot?0.

I h~~ve told you rr~or~ ih~n once during this rase that my client is realistic, and it understands Yhat guarantors may not gave the ability to pay
anyttainy close to their Segal li~taility. That is tvhy #hey always will consid€r a guar~ntor'u repeeseritations ragarding their finances and abilety to day
~~h~n cc~nsidenng resolution. Hnw€:ver, you simply have not listened and have nvt engaged in any disCussior7s at~out resolution. 50, you have !c>ft
my c!€ant no ehnice bu# to pursue judgment at trial, tvty client will not just dismiss this lawsuit.

Fr<~ankl~~, rt~y client has nn interest in discussing a resolution tha# is r7ot rea(isfiirally manageable fcsr yoi.a —that is why i haven't come to you will,
~~~;solutior~ prap~sals far $2 msilion, ~1 rr~iltion, or even a ccrupie I~undrerl thousand. I am p~~tty sure that would just set things up for failure.
~ou~~uer, if you want to discuss something, i am avai~~ble to talk. i have had guarantors nn ions ~stab(ist7 financial conditions that only su~pc~rt
the ~hiMity to manage a tidy firaetian of what :sowed (arid ~~eith payments over time of th:~kj, and my client has listened. EiuC without a diaiogu~,
th~r~ Is nothing to listezi to. i thir~i~ you are being unwise kay not faikinc~ with me. !still may tie ably try talk with mp client about a payment galar~ #hat
:s very rnanayeabie given your ~~articular financial condition •- that f rankly may b~ far, far, FAR away fr~rr~ any of Che ~7Gfmbers that uve see in this
case. I think you would find this far preferrable to the disru~tian t~i~i is caused by an outstanding judc}m~nt and jucEgmant collection activities that
can affec# ys~ur tivagc~s, your bank accounts, and other personal arzci real pi~r~perty you rreay pwn, But I can't talk with my client about a manage~bl~
r~s~lutian wtihout communication from ycyu.

i wil{also #hrow in thrai it is tailing that Piacemark has never fo~maliy chali~ng~d kh~ f~r~eie~sure sate. IT didn't because it knows it would rave last,
         Case 2:22-cv-07426-MEMF-JC Document 1 Filed 10/12/22 Page 37 of 38 Page ID #:37


~rxi it knows that it vas not in a position to pay back the loan to Anchor. I undErskand that you sold the LLC to Avis Copeland. it was your error to
da this vaithaut negati~tiny a release of your persona! guaranty (Anchor r~re~y does this, and only if presented with an alternate guarantor that k}as
sufficien# means). Frankly, you should be suing Nts. Copeland. She seems to have ~~eally done you wrong.

 Feel free to cal! me if you would like to ciisc~ss things.

Glenn C. Kelb{E, Esq.
Sveeeney & Keibl~ APC
X45 S. Figueroa Street, 31st Flaor
Los Angeles, CA 94071
{310}955-4050 x701
g{enn~~ksgklaw.com
www.ksgklaw.com

 T~~r~
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   - -Original Message-----
Fr~m: Christopher Chester <chester2021oi@gmail.com>
Sent: Friday, Octok~er 7, 20221Q:01 AM
Ta Glenn Kelble <glenn~.~ksgklaw.com>
Subject: Re: Ex Porte Native - JRM Financial vChester -Case #205TCVQ£s?46

Mr. Kc~lble. As you, your clients and the Court are fully aware, JRM Financia3 conducted an uniaavful foreclosure sai~ and unfawfuliy sold the
property to a third party for just under 1.8M. There is real{y nothing to discuss ether thian a dismissal of this matter and tt~e void default judgment
against tv{r. Gibson being set aside. !f you would like to dra#t a dismissal anti a stipulation to set aside the void default judgment, he and !would be
more than happy is sign off an those documents. Otherwise,iher~ is nothing to d=scuss because this matter has no legal merit.

Christopher Chester

Seri from my iPhone

fln Oct 7, 2022, at 8:49 AM, Glenn Kelble <glenn~~ksgklaw.com> ~r~rote:

Mr. Chester:

If you would like to discuss tttfs matter, I am available for a call. I am not sure why you have never reached nut to discuss this case in the last year
and half.

Glenn C. K~Ibie, Esq.
Sweeney & Kelble APC
445 S. Figueroa Street, 31st FIUor
 os a~,~eE~s, ca ~007~
(3'1Cl) 9a5~~05Q x7t~1
c~oennCwksgklaw.com
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 -~•--Original Message-----
From: Christopher Chester <chester2021o1C~gmail.com>
Sent: Thursday, October 6, 2022 7:58 AM
T o: Glenn Kelble <glenn@ksgklativ.com>
Subject: Ex Porte Notice - JRM Financial vChester -Case #20STCV06245
      Case 2:22-cv-07426-MEMF-JC Document 1 Filed 10/12/22 Page 38 of 38 Page ID #:38


Mr. K~Ibie. This ~maii is to c~it~e notice that can Friday, October I, 2022, i wii9 ka~ ap~e:~r~ing in Depi 5C a# 830arn, 971 N Hiii St Las A~geies CA
~~012. i vtill k~e making an appearance to requ~si a continuance of the trial in the above matter curr~ntiy schedui~d for C)ctober 'i3, 2022.

F~lc~se advise if you are wiNing to stipulate to a cantinuancP, ~f nat, i will be makir~c~ the app~arai~ce. Thank yau.

f'hris Chester
